Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 1 of 23

EXHIBIT M

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 2 of 23

 

 

 

 

 

1
IN THE UNITED STATES DISTRICT COURT 1 DEPOSITION OF TERESA LATHAM,
FOR THE WESTERN DISTRICT OF PENNSYLVANIA a witness, called by the P|aintiff for examination,
2 in accordance wlth the Federa| Rules of Civii
- ~ - - Procedure, taken by and before Beth E. We|sh, a Court
3 Reporter and Notary Publlc ln and for the
JEAN LAWNICZAK, as Persona| ) Commonwealth of Pennsy|vania, at the offices of
Represenl:ative of the ESTATE ) 4 LAW OFFICES OF JOEL SANSONE, Two Gateway Center,
OF JOHN ORLANDO, Deceased, ) 603 Stanwlx Street, Suite 1290, Pittsburgh,
) 5 Pennsy|vania, on Tuesday, May 29, 2018, commencing at
P|aintiff, ) Civi| 12:59 p.m.
)Action No.: 6
-vs- ) 2:17-cv-001 - - - -
) 85 7
ALLEGHEN¥ COUNTY, et a|.l ) 8 APPEARANCES:
)
Defendants. ) 9 FOR THE PLAIN'|'IFF:
Massimo A. Terzigni, Esquire
10 terzignim@gmai|.com
LAW OFFICES OF JOEL SANSONE
- - - - 11 Two Gateway Center
603 Stanwix Street
DEPOSI`|'ION OF: TERESA LATHAM 12 Suite 1290
Pittsburgh, PA 15222
- - w d 13 412.281.9194
14 FOR THE DEFENDANTS:
15 John A. Bacharach, Esquire
DATE: May 29, 2018 john.bacharach@a|leghenycounty.us
Tuesday, 12:59 p.m. 16 A||egheny County Law Department
300 Fort Pitt Commons Bui|ding
LOCA`|'ION: LAW OFFICES OF JOEL SANSONE 17 445 Fort Pitt Boulevard
Two Gateway Center Pittsburgh, PA 15219
603 Stanwix Street 18 412.350.1150
Suite 1290
Plttsburgh, PA 15222 19
TAKEN BY: P|ain’ciff 20
REPORTED BY: Beth E. We|sh 21
Notary Pub|ic
QCR Reference No. Bw2909 22
23
24
25
3
1 TERESA LATHAM,
2 having been duly sworn,
* I N D E X * 3 was examined and testined as follows:
Examination by Mr. Teizigni .......... 4 4 - ~ - -
Exarnination by Mr. Bacharach ......... 53
5 EXAMINATTON
Certificate of Court Reporter ......... 57
Errata Sheet ................. 58 6 - - - -
Notice of Non-Waiver of Signature ....... 59
7 BY MR. TERZIGNI:
8 Q. Ma'am, could you please pronounce your name for
* INDEX OF EXHIBITS "‘
9 me?
Depositior\ Exhibit 1 ............. 25
oeposition Exhibir 2 ............. 31 10 A. Teresa Latham.
Deposition Exhibit 3 ............. 33
Deposition Exhibit 4 ............. 38 11 Q. Ms. Latham, have you ever been deposed before?
Deposltion Exhibit 5 ............. 43
Deposition Exhibir 6 ............. 46 12 A. Yes.
Depositlon Exhibit 7 ............. 48
13 Q. Did you prepare for this deposition today?
14 A. No.
15 Q. You didn't review any document$?
16 A. I did review the old interview.
17 Q. The intake interview?
18 A. Ye$.
19 Q. And that's the intake interview you did with
20 John Orlando?
21 A. ‘(es.
22 Q. How long have you been employed by A||egheny
23 Counl;y Jail?
24 A. Seventeen years.
25 Q. What positions have you he|d?

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 3 of 23

 

 

 

 

A. RN. 5 1 Q. Now, it's my understanding that there are two
Did you work for Corizon at all or always 2 intakes in the jai|, one when the inmate first
A|iegheny County Jail? 3 comes in and one after the arraignment Do I

A. I worked for Corizon. 4 have that right?

Q. How long did you work for Corizon? 5 A. I’m not sure what you mean by two intakes. I

A. For the length of time they were there, two 6 don't know what you mean.
years. 7 Q. When did you complete the assessment of the

Q. Two years? 8 inmates?

A. However long they were there. 9 A. When he came to the nursing office for his

Q. Can you please describe your general 10 nursing assessment
responsibilities as a nurse? 11 Q. At what point in his stay was that?

A. My responsibilities as a nurse was comprehensive 12 A. It was when he was ready for his nursing
assessment of the individual and that would be 13 interview.
appropriateness for admission to the jail, 14 Q. So that was after I guess his initial intake;
tr|aging any immediate injuries or concerns, 15 correct?
then comprehensive assessment, first aid if that 16 A. After admission to the jail do you mean?
was indicated, responding to emergencies, like I 17 Q. Yes.
said, the assessment and anything that happened 18 A. It was after admission to the jail.
on the ground |evel, response to that. 19 Q. Does the assessment usually take place after the

Q. By ground level do you mean the intake area? 20 arraignment?

A. Yes. 21 A. Yes.

Q. What ls a comprehensive assessment? 22 Q. So when an inmate is admitted to the jail there

A. That would be assessing physical status, 23 is an initial intake procedure; correct?
injuries, denta|, mental health and trying to 24 A. That’s correct.
get a baseline assessment of the patient. 25 Q. Did you ever work in that initial intake

7
process? 1 or something that happened between the officers

A. ‘(es. 2 and the inmate before they got there, really

Q. What's the difference between that intake and 3 something that we needed to act upon, it could
the comprehensive assessment? 4 result in his being sent out to be cleared.

A. We||, for admission to the jail all you're doing 5 Q. If you had an inmate that was suicidal, where
is essentially clearing the person for admission 6 wouid he be sent out to, would it be Western
to jail. 7 Psych?

Q. What would lead to an inmate not being cleared 8 A. Some mental health facility, I don't know if it
to the jall? 9 would exactly be Western Psych, but somewhere

A. If he had injuries or any condition that could 10 where he would receive psychiatric care.
not be safely taken care of in our environment. 11 Q. Does Al|egheny County Jaii have a policy on

Q. What about a mental health issue? 12 suicide prevention?

A. It would include mental health. If the person 13 A. There are -- I believe they have a policy. I
was acting out or a threat to himself or someone 14 can't say certainly -- with certainty though.
else, something we couldn't hand|e, then that 15 Q. Are you familiar with that policy?
person would be referred out until a time when 16 A. I‘m not familiar.
he was cleared and safe for us to take care of. 17 Q. Did you receive any training on that policy?

Q. So if an inmate arrives and the arresting 18 A. We've had suicide prevention classes and
officer that ls bringing the inmate in says that 19 in-services.
this person said he's going to hang himse|f, 20 Q. In those suicide prevention classes are you
would that be something that could lead to him 21 taught about warning signs?
not being cleared? 22 A. Yes.

A. It would depend. If the person said that and 23 Q. Do you recall what some warning signs of
the nurse questioned and it seemed that that was 24 suicidaiity are?

a valid threat, not to just a person being angry 25 A. Do I recali? Do you want them listed, what I

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 4 of 23

 

 

 

10
recail? 9 1 handled under the suicide policy?
Yes. 2 MR. BACHARACH: I'm going to object to
Sudden change in demeanor from whatever it was 3 the form of the question. You can answer it.
the person had been prior to that change, giving 4 BY MR. TERZIGNI:
away possessions, making statements that 5 A. Not necessarily according to any policy. Again,
everything's going to be all right now. That's 6 I don't recall what any policy the County might
basically. 7 have states, but what 1 would do is to make a
Do you recall why that is a warning sign making 8 referral to have the person evaluated and if he
the statement everything's going to be all 9 had actually -- he or she had actually made a
right? 10 statement stating that intent, then they would
We|l, in my opinion it's because they know that 11 be placed in a suicide prevention gown and
they don't have to worry about whatever it is or 12 observed until that mental health evaluation is
was that was troubling them anymore. 13 completed
In those classes do you recall if alcohol or 14 Q. Do inmates receive mental health evaluation as
drug withdraw was discussed as possibly having 15 part of the intake process automaticai|y?
an affect on suicidallty? 16 A. ‘(es.
Yes. 17 Q. Do you perform that mental health evaluation?
Do you recall why that is? 18 A. I do not.
It's a time when the person's not usually 19 Q. Is that performed by a mental health nurse?
feeling well and because of that they're likely 20 A. A mental health specialist
to say or do things because of that that they 21 Q. So every inmate sees a mental health specialist?
wouldn't do otherwise. 22 A, Every inmate does.
If you are performing an intake or an assessment 23 Q. Is that considered part of the intake process?
on an inmate and he makes a statement about 24 A. Yes.
harming himself or other people, how is that 25 Q. Is that done when the inmate arrives at the jail
11 12
or after arraignment? 1 thought you said drawing.
It's done usually after arraignment 2 MR. TERZIGNI: Oh, no.
Is that done before or after the comprehensive 3 BY MR. TERZIGNI:
assessment? 4 Q. Heroin?
It can be done before, usually it‘s afterwardl 5 A. I believe it was heroin.
Are you familiar with Mr. Or|ando and the 6 Q. Was his demeanor ~- did that trigger any warning
incident that occurred in March of 2016? 7 signs of anything that would have been
l recall his interview afterl looked at his 8 concerning?
intake interview. 9 A. Because I felt that he wasn't telling me the
You recalled that after -- looking at that 10 truth, that's why I had mental health see him,
document in preparation of this deposition? 11 to see what they came up with upon evaluation
That reminded me of who he was, otherwise I 12 and what their feeling was after speaking with
didn't recall anything specific. 13 him and what they felt was indicated afterward.
What do you recall of your interview with 14 Q. Mr. Orlando arrived at the jail on March 24th,
Mr. Oriando? 15 and I believe you interviewed him on March 26th.
After looking at that document and seeing his 16 Is it odd that there were a couple days in
picture, I remember that he had been very angry. 17 between his arrival at the jail and your
Do you recall anything else from the interview? 18 assessment?
Just that he was angry, he was minimally 19 MR. BACHARACH: I object to the form.
cooperative l don't know that his answers were 20 You can answer.
truthful. He was curt, he was abrupt, and he 21 BY MR. TERZIGNI:
was withdrawing. 22 A. That's not odd, no.
Do you recall what he was withdrawing from? 23 Q. Before performing the comprehensive assessment,
I believe it was heroin. 24 do you have access to any of that inmate's
MR. BACHARACH: Oh, I'm sorry, I 25 records?

 

 

 

 

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CaS€ 2217-CV-00185-LPL

Document 50-13 Filed 09/26/18 Page 5 of 23

 

 

 

14

A. No. 13 1 really no reason for that. So, no, I would not

Q. Do you have access to that initial intake 2 have had or had any reason to look at that
report? 3 before he came for his interview.

A. I don't know what report. 4 Q. Okay. What if the report had medical

Q. The intake report from when he first arrives at 5 information on it?
the jail? 6 MR. BACHARACH: Well, I'm going object

MR. BACHARACH: I'm going to object to 7 to the form. I mean you -- I'm not sure --
the form. 8 okay, you can answer.

You can answer if you know what he's 9 MR. TERZIGNI: She said she wouldn't
talking about 10 have cause to look at the form.

BY MR. TERZIGNI: 11 MR. BACHARACH: But she didn't say

A. I don't know of any report. 12 anything about a form. I mean I don't know.

Q. Ear|ier we were talking about whatI called two 13 She said they ask a few cursory questions, I
intake processes, and you said you wouldn't call 14 mean she didn't say there was a form for her to
it two intakes, but there is a questionnaire 15 look at is my problem with it.
that you have to ask the inmate when he's 16 BY MR. TERZIGNI:
arriving at the jail to be cleared; correct? 17 A. Let me just say that when he -- at the time he

A. Let me say that if you're talking about the 18 was admitted there was a form, it had a few
process now -- 19 questions, you circled yes or no in answer to

Q. I'm talking about the process in March of 2016. 20 the questions. If there was a need to

A. It's not two processes At the door you're 21 eiaborate, then there was a small space to
asked a few cursory questions just to see if 22 indicate whatever it was. So unless you were
you're appropriate for admission to jail. If 23 the nurse and they -- it was medical information
that's what you're referring to, then, no, we 24 for everyone who came in, so notjust him. So
don't usually have access to that. There's 25 if there was a need, it was there. Uniess I was

15 16
the nurse who had cleared him, I wouldn't have 1 Q. There was documentation that Mr. Orlando said
any idea of what was on that form, I wouldn't 2 I'm going to die in here and we’re all going to
have any reason to look or question anything 3 die in here.
that was on that form. 4 A. If that was documented --

Q. I understand you're testifying that you wouldn't 5 Q. Yes.
have a reason to. My question is do you have 6 A. -- I didn't see it, 1 don't believe they would
access to that form? 7 write that on that clipboard. So if it was

A. I would have access to it, yes. 8 documented it wasn't anywhere that I saw it.

Q. Okay. What if that form had medical information 9 Q. Wou|dn't that be important information for you
on it, would you think that you would need to 10 to know?
look at it then? 11 A. It would be, uh-huh.

A. I'm not sure what you mean by medical 12 Q. So how is that information relayed to you?
information. 13 A. Usually in report. If someone has something

Q. In this situation Mr. Orlando was talking about 14 that needs to be referred or carried on, then
killing himself and others. 15 usually a nurse-to-nurse report or if it's

A. Uh-huh. 16 written communication from a hospital, discharge

Q. And that was documented prior to your 17 papers, something like that, then that
assessment 18 information is brought to the back and we have a

A. Okay. 19 board for discharge information and if there’s

MR. BACHARACH: I object to the form 20 anything that's serious, relevant, pertinent
of the question. I don't think it correctly 21 that needs to be communicated, then a verbal
characterizes what Mr. Orlando was saying before 22 report is also communicated So those kinds of
the witness saw him. 23 things are shared
\’ou can answer. 24 Q. You testified that a verbal report is
BY MR. TERZIGNI: 25 communicated Is that done at like a nurse’s

 

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 6 of 23

 

 

 

 

18
meeting? 17 1 in a gown. He could have told me that his
A. Shift-to-shift report. 2 lineage was -- he was the Prince of Arabia, but
Q. Okay. During the comprehensive assessment did 3 I wouldn't put him in a gown for that. I
you have the authority to place an inmate on 4 wouldn't believe him, but I wouldn't put him in
suicide precautions? 5 a gown.
A. No. Well, let me rephrase that. I would have 6 Q. The comprehensive assessment includes a list of
the authority to place him in a gown, which does 7 questions; correct?
equate to suicide precautions, so, yes, I would 8 A. Correct.
have that authority. 9 Q. Now, are there a certain number of questions
Q. When you were interviewing Mr. Orlando did you 10 that if you answer it a certain way, then are
consider placing him in a gown? 11 you placed on suicide precautions?
A. No. 12 A. I don't believe that's true.
Q. Do you recall why that is? 13 If you answer a number of questions some way,
A. He said no to suicidal ideation, he said no to 14 does that automatically get the inmate referred
past attempts, so for those reasons I would not 15 to mental health?
put him in a gown. 16 A. I believe after a certain number, I'm not sure
Q. You also testified that you didn't believe his 17 what that number is that -» and, see, Ithink
answers; correct? 18 you're mixing two different periods.
A. That's correct 19 Q. Okay.
Q. So did you believe his responses to those 20 A. Because now everyone is seen, so it doesn't
questions? 21 matter what you say or do or how many questions
A. I believed it at that time, yeah. 22 you ask, everyone is seen. So that's --
Q. But you didn't -- I'm sorryr go ahead 23 Q. Everyone is seen by mental health?
A. I would say that because I didn't believe what 24 A. By mental health.
he was saying does not mean that I would put him 25 Q. In March of 2016 was everybody seen by mental
19 20
health? 1 explicitly. He said -- do you want me to --
A. No. 2 MR. TERZIGNI: Sure.
Q. So in order to be seen by a mental health nurse 3 MR. BACHARACH: He said I'm going to
you would have to be referred? 4 die in here, we're all going to die. I don't
A. That's correct 5 remember him saying anything about directly
Q. When Mr. Orlando arrived at the jail he made 6 harming anyone. I don't remember that anyway.
statements of dying in the jail and harming 7 MR. TERZIGNI: I agree that he said
other people and there were several incident 8 I'm going to die in here and we're all going to
reports written by the different COs that were 9 die in here.
present and supervisors who reviewed the 10 MR. BACHARACH: We're all going to
incident, he was placed in a restraint chair and 11 die, I don’t know that he said in here.
it was videotaped There was a lot of different 12 MR. TERZIGNI: Something to that
paperwork on this incident when he arrived at 13 effect
the jail. As the nurse performing his 14 MR. BACHARACH: To that effect, yeah.
comprehensive assessment, how would you be made 15 BY MR. TERZIGNI:
aware of that incident and all the documentation 16 A. I was not aware of any of that.
surrounding that incident? 17 Q. Okay. My question is why weren't you made aware
MR. BACHARACH: I object to the form 18 of that?
of the question. I don't think it characterizes 19 A. I don't know.
the testimony, the facts correctly, and it's got 20 Q. Should you have been?
multiple parrs, but with that, you can answer. 21 A. I believe I should have been.
MR. TERZIGNI: Do you want to say what 22 Q. When an incident like that occurs at intake and
parts I got wrong? 23 there's several reports regarding that incident,
MR. BACHARACH: Yeah, I don't think he 24 how are you made aware, how do those documents
threatened to harm anybody, at least not 25 get on your desk?

 

 

 

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CaS€ 2217-CV-00185-LPL

Document 50-13 Filed 09/26/18 Page 7 of 23

 

 

 

 

21 2
A. You’re talking about corrections documents? 1 that this was his frame of mind, but I didn't 2
Q. Yes. 2 get that information.
A. They’re not. 3 Q. Mr. Orlando was placed in a restraint chair and
Q. You do not have access to any corrections 4 then after a certain period of time was removed
documents? 5 from the chair. First, do you know how long an
A. No. 6 inmate is allowed to stay in a restraint chair?
Q. Is there ever an incident where you do have 7 A. 1 don't know.
access to corrections documents? 8 Q. Okay. When Mr. Orlando was removed from the
A. No. 9 chair he wasn't provided with a suicide gown.
Q. I asked you earlier should you have had access 10 Given the factual circumstances that I said to
to those, and I think my question was should you 11 you and Mr. Bacharach, should he have been
have been made aware of that incident, and you 12 placed in a gown?
answered yes? 13 MR. BACHARACH: I object to the form.
Ai l would believe so. I mean knowledge is key 14 sY MR. TERZIGNI:
and, you know, knowing what had gone on is just 15 A. I can‘t say, I don't know what the circumstances
something that I should have known. I mean that 16 were.
would help with my assessment, but I didn't know 17 Q. Do you recall answering some questions, written
any of that until this came up. 18 questions in connection with this case?
Q. How would you have been made aware of that 19 A. Questions from whom?
incident? 20 From me that I provided to your attorney and
A. Again, in shift-to-shift report, someone would 21 then I believe he provided them to you?
have said that he was in a chair, he said this, 22 A. They were written?
he's alleged to have said this, the officer said 23 Q. Yes, they looked like this (indicating),
he said this, just so you could observe, 24 Interrogatories.
evaluate, assess, whatever was needed, knowing 25 A. I believe I do.
23 24
Q. Okay. In a question asking about your duties 1 check them in an hour or two hours, whatever the
and responsibilities you said your 2 practitioners order and after that interval we
responsibilities include, but are not limited to 3 check again or medicate again or whatever's
comprehensive assessment of new arrests that 4 indicated based on that blood pressure and for
have been admitted to the jail. 5 whatever the circumstance is. If someone had a
You've told me about the comprehensive 6 seizure and we medicate or we're doing neuro
assessments ; correct? 7 checks or whatever the case. If someone comes
A. Uh-huh. 8 in in alcohol withdrawal, we medicate and we
MR. BACHARACH: You just said uh-huh, 9 check again to see if that medicine has been
you have to answer. 10 effective. If someone comes in with bleeding
aY MR. TERzIGNI: 11 and we’ve applied a pressure dressing, we go
A. I'm sorry, yes. Sorry. 12 back in fifteen minutes to check to see if the
Q. That's okay. 13 bleeding has stopped, if we need to reapply the
MR. BACHARACH: That's all rightr 14 dressing, if we need to take further measures,
everybody does it, almost everybody. 15 that's what I mean by ongoing assessment
aY MR. TERZIGNI: 16 Q. In response to another question asking about
Q. You wrote duties also include wound care, 17 your interaction with Mr. Orlando, you responded
medication administration, ongoing evaluation 18 I conducted a medical interview on the
assessment, treatment of all new arrests, 19 above-named lndividual.
inmates, staff members as indicated on ground 20 By medical interview did you mean
level. 21 comprehensive assessment?
First, what do you consider as an ongoing 22 A. Yes.
evaluation? 23 Q. In a question asking about Mr. Orlando's intent
A. Someone's admitted with an elevated blood 24 to harm himself, you responded John Orlando did
pressure and they're medicated at the door. We 25 not at any time express the desire to harm

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 8 of 23

 

 

 

25 2
himself or anyone else. 1 Medical Survey Report. Ma'am, are you familiar 6
Can you elaborate on what you meant by at 2 with this document?
any time? 3 A. I am.

A. That means during the time he was in front of 4 Q. Can you explain to me What this intake form is?
me, and that's the time period where we did -- 5 A. This is basically a transcript of the medical
where 1 did the comprehensive interview. 6 interview.

Q. That does not include a time that he was in 7 Q. Towards the top of the page on the right-hand
front of anybody else? 8 side it says Ent. Date March 26, 2016. Is that

A. No. 9 the date that the interview occurred?

Q. There's another question asking about if you had 10 A. Yes.
any other interactions with Mr. Orlando, and you 11 Q. Down the page on the left-hand side there's a
responded by putting N/A. Does that mean you 12 question records received and there's an "N“

did not have any other interactions with him? 13 there. Can you explain to me what that means?

A. That's correct 14 A. It means that there were no records received
Ma'am, if you could please read over this 15 Q. What are some common records that you do receive
document and let me know when you're ready. 16 prior to the comprehensive assessment?

- - - - 17 MR. BACHARACH: 1 object to the form.
(Deposition Exhibit No. 1 was marked 18 Vou can answer.
for identification, and the witness reviewed the 19 BY MR. TERZIGNI:
document.) 20 A. They would be hospital records or transfer
- ~ » ~ 21 sheets.

BY MR. TERZIGNI: 22 Q. How would you receive hospital records?

A. I'm ready. 23 A. If you were the person at the door, you would be

Q. Okay. You've just been handed a document marked 24 handed them usually by the transporting
Exhibit 1, it's an Allegheny County Jaii Inmate 25 officers. If you were the nurse doing the

27 28
interview, they're available in the nursing 1 A. 1 did
office. 2 Q. Lower on the page it says emergency contact,

Q. ls there a database that you could type in an 3 name Jean Orlando/Lawniczak. How did you find
inmate's name and pull up past medical records? 4 Mr. Orlando's emergency contact?

A. I'm not sure what you mean by past medical 5 A. 1 don't remember entering that. lt may have
records. 6 been pre-populated from the officer's entry.

Q. An inmate comes in, you're doing a medical 7 There are times when it's already in there and
assessment and maybe the inmate has been to the 8 if you ask the question who is your emergency
jail before, is there a way to pull up past 9 contact and it's already in there and there's no
medical records? 10 change, it remains.

A. Formerly you could look at the old interview, 11 Q. If could you turn to the next page, here there
but that's all. 12 are a list of questions and 1 counted nine yeses

Q. There's no other records accessible? 13 to the questions Mr. Orlando answered yes to, do

A. No. 14 you have any current medical complaints, yes, do

Q. On the same side of the page it says client 15 you have a history of mental health problems,
screening accepted or declined What does that 16 yes, a history of outpatient therapy, yes,
mean? 17 within the last year, yes, history of

A. It is asking or answering the question as to if 18 psychotropic medications, yes, history of
he refused to be interviewed or agreed 19 psychotropic hospitalization, yes, recent

Q. It's marked here accepted so that means he 20 significant loss within the past six months,
agreed to be interviewed 21 yes, history of violent behavior, yes, history

A. This basically is that if the interview is 22 of victimization, yes.
completed, it is assumed this isn't anything 23 Earlier we talked about answering a number
thatI actually checked 24 of these questions in a certain way could lead

Q. Okay. Did you complete this document? 25 to the inmate being referred; correct?

 

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 9 of 23

 

 

 

 

29
A. Correct. 1 usually two times during the shift during the 30
MR. BACHARACH: I object to the form, 2 morning shift 50 during those two times,
but go ahead, that's fine. 3 that's when everyone who had to see the mental

BY MR. TERZIGNI: 4 health specialist was seen.

Q. The answers to those questions that 1 just read, 5 Q. How is an inmate referred to a mental health
did that lead you to refer Mr. Orlando? 6 specialist?

A. Yes. 7 A. You write the referral, you place it in the

Q. Okay. And you referred him to where? 8 mental health specialists bin, when the mental

A. To mental health. 9 health specialist comes to the unit, to intake,

Q. What does it mean to be referred to mental 10 he or she gets those referrals from the bin and
health? 11 then calls each person to be seen.

A. It means that a mental health specialist wi|i 12 Q. If you could turn to the last page, under the
see him before he goes to any housing pod. 13 additional comments section you wrote denies any

Q. Do you recall if that happened here with 14 private medical issue to discuss. MH referral,
Mr. Orlando? 15 does that mean mental health referrai?

A. 1 don't recall his actual interview, when it 16 A. ‘(es.
happened, I don't remember that. I don't 17 Q. Opioid/ETOH detox ordered and initiated
remember, no. 18 Can you explain what that means?

Q. Do you know if Mr. Onando did have an interview 19 A. It means that -- what I typically do is ask the
with a mental health specialists? 20 person is there anything that you want to talk

A. I don't remember seeing it, no. 21 about in a private setting, anything that you're

Q. Usually how long after your referral does an 22 not comfortable discussing in this public forum,
inmate see a mental health specialist? 23 and they will answer yes or no, and in this case

A. There wasn't any usual time, At the time he was 24 he said he didn't have anything, and mental
there the mental health specialists came down 25 health referral, the alcohol and the heroin

31 32
detox were ordered and initiated in intake, 1 Q. This is a Jaii Hea|thcare Services
That means I ordered the medicines and gave it 2 Practitioner's Order. Are you familiar with
to him before we left my desk. 3 this document?

Q. Did you refer him to mental health because of 4 A. ¥es.
his responses to these questions asking him 5 Q. Is this your handwriting on this document?
about his mental health issues? 6 A. Yes.

A. As weil as his general demeanor, some of his 7 Q. Can you read for me what it says here because 1
responses to questions I asked 8 couldn't read it?

Q. His general demeanor you previously testided 9 A. It says Valium 5 milligrams by mouth or it says
was angry during that; correct? 10 PO b.i.d. times five days, Valium 5 milligrams

A. (Nodding head up and down.) It was. I'm sorry, 11 PO q.h.s. times two days, Clonidine, O.1
I'm nodding my head. 12 milligrams PO b.l.d. times seven days,

Q. That's okay. I believe you also testified that 13 Loperamide 2 milligrams, PO b.i.ci. p.r.n. times
you didn't actually believe all or some of his 14 three days, Promethazine 25 milligrams, PD
answers; correct? 15 b.i.d. p.r.n. times days, Thiamine 100

A. That’s correct 16 milligrams PO q.d times ten days,

- - - - 17 Q. Is this a prescription?
(Deposltion Exhibit No. 2 was marked 18 A. It's an order for detox.
for identification, and the witness reviewed the 19 Q. What is Clonidine?
document.) 20 A. It's medicine used for heroin detox.
- - - - 21 Q. What was the next one?

BY MR. TERZIGNI: 22 A. Loperamide, it's used for symptom control for

Q. Ma'am, have you had a chance to review this 23 diarrhea associated with heroin withdraw.
document? 24 Q. The next one?

A. Yes. 25 A. Is Promethazine used for nausea associated with

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 10 of 23

 

 

 

33 34
heroin withdraw. 1 handwriting?

Q. And the last one? 2 A. No, it isn't

A. Thiamine, it's a B Vitamin associated with 3 Q. That's somebody else?
alcohol withdraw. 4 A. Yes.

Q. The date/time here is March 26, 2016, the same 5 Q. Okay. Can you explain to me what this document
date as the assessment form. Did you fill out 6 is?
the assessment? 7 A. It's a Mental Health Referral form, it's a form

A. Yes. 8 that I completed at the time of John Orlando's

- - - - 9 comprehensive intake interview.
(Deposition Exhibit No. 3 was marked 10 Q. For the question is the patient currently on
for identification, and the witness reviewed the 11 suicide precautions you wrote no. That was at
document.) 12 the time of the interview he was not on suicide
- - - - 13 precautions; correct?

BY MR. TERZIGNI: 14 A. That's correct

Q. Ma'am, have you had a chance to look over this 15 Q. And you were unaware at that time that he had
document? 16 been placed in a restraint chair; correct?

A. I have. 17 A. That's correct

Q. Are you familiar with this form? 18 Q. Then the bottom, reason for referral, the box

A. I am. 19 next to suicidal ideation was unchecked ¥ou

Q. This is a Mental Health Referral form, and it's 20 were unaware of Mr. Orlando's suicidal
dated March 26, 2016, it's marked Exhibit 3. ls 21 ideations; correct?
this your handwriting on this document? 22 A. That's correct

A. Yes, it is. 23 MR. BACHARACH: 1 object to the form.

Q. I see there's a signature or a person's name at 24 THE WITNESS: I'm sorry.
the bottom of the document Is that also your 25 MR. BACHARACH: ¥ou're fine. IfI

35 36
don't like the answer, I'll say so. It's 1 Q. The next section, referral classification,
unlikely I'li say that. 2 contains four boxes, one is emergent within 24

BY MR. TERZIGNI: 3 hours, urgent within 48 hours, routine within 72

Q. You checked the box prior mental health history. 4 hours, mental health evaluation within fourteen
Can you explain to me why you did that? 5 days. Why are those boxes left blank?

A. I believe he reported a diagnosis of 6 A. Because our policy at the time was that everyone
schizophrenia or some mental health diagnosis 7 who was seen was considered to be urgent, and
and he had been on mental health medication. 8 that's why I say that everyone was seen before

Q. Is that why you checked the box psychotropic 9 they went to the housing pods. No one with a
medication? 10 mental health referral went upstairs without

A. That's correct 11 being seen. So it was kind of a moot point

Q. 1n the next section, comments described below 12 Q. So it was automatic that the inmate was to be
and/or see attached intake screen, see attached 13 seen within forty-eight hours?
mental health screen, see attached Nl:`l'/ME|'. 14 A. Usually well before forty-eight hours.

Why is that left blank? 15 Q. 50 you hand in this referral form, Mr. Orlando

A. I don't usually write anything there, Ijust do 16 should be seen sometime less than forty-eight
the top part I've never written anything 17 hours later?
beiow. 18 A. Yes.

Q. Is that section just to add notations to what is 19 Q. On average can you say how long it would take
written above? 20 for an inmate to see a mental health provider?

A. I'm not really sure. To tell you the truth, I 21 A. Usually within two hours.
thought that was for the mental health 22 Q. 15 that your handwriting in that box towards the
professional to document I've never written 23 bottom of the page under the referral
anything there. 1 would give a verbal report or 24 classification?
attach a progress note ifI had anything to add 25 A. No.

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 11 of 23

 

 

 

 

37 38
Q. Do you know what that says? 1 Q. Are you aware of the circumstances surrounding
A. 1 don't know what that says. 2 her resignation?
Q. lt looks like the middle line says see message 3 A. No, I'm not.
March 26, '16. Do you have any idea what that 4 - - ~ -
means? 5 (Deposition Exhibit No. 4 was marked
A. See nursing maybe, I don‘t know. The third line 6 for identification, and the witness reviewed the
looks like her signature. 7 document.)
Q. Ruth Harrison‘s? 8 » - - -
A. Yes. The first line looks like clear to 9 BY MR. TERZIGNI:
population. 10 Q. Ma'am, have you had a chance to review this
Q. See message March 26, '16 or see nursing March 11 document?
26, '16? 12 A. l have.
A. And the line above that clear to population. 13 Q. This is a Booking Observation Report from the
Q. Okay. Do you know what that means? Clear to 14 Allegheny County Jail, it's dated March 29thr
general population? 15 2016, it's been marked Exhibit 4. Do you know
A. And not a mental health unit 16 what this document is?
Q. Would you take that as meaning that Ruth 17 A. Yes.
Harrison met with Mr. Orlando? 18 MR. BACHARACH: Where are you getting
A. This is -- yes. 19 the date?
Q. Do you know who Ruth Harrison is? 20 MR. TERZIGNI'. Right at the top of the
A. She was a mental health specialist 21 page under the titie.
Q. Does she still work at the jail? 22 MR. BACHARACH: I'm not sure that
A. No. 23 that --
Q. Do you know why? 24 BY MR. TERZIGNI:
A. 1 believe she resigned 25 A. You said the 29th; is that correct?
39 40
Q. 1 am getting that from -- 1 saying that as a fact, but 1 just don't want to
MR. BACHARACH: I'm not sure that -- 2 leave the impression that that's the date.
BY MR. TERZIGNI: 3 MR. TERZIGNI'. Okay.
Q. -- the top of the page. 4 BY MR. TERZIGNI:
MR. BACHARACH: Right, but 1 don't 5 Q. Ma'am, do you know what this report is?
know that that date means that's the date the 6 A. Yes.
interview was conducted In fact -- 7 Q. Can you explain to me ~- not specifically this
BY MR. TERZIGNI: 8 report, but generally what a Booking Observation
A. It's not the date. 9 Report is?
MR. BACHARACH: -- I'm virtually 10 A. It's referred to as the booking questions, it's
certain it's not, but that's another story. 11 basically what the officers ask the inmates as
MR. TERZIGNI: What date do you 12 they're entering them into the system.
believe it is? 13 Q. Does it occur after the inmate's admission to
MR. BACHARACH: This would have been 14 the jail?
done at or about the time when he was admitted 15 A. Yes.
to the jail, it would have probably been done 16 Q. Does it occur before the comprehensive
somewhere between the 24th and the 26th. It 17 admissions report? 15 that what it's referred
wouldn't have been done the 29th. The 29th is 18 to?
when he did the -- after the suicide. He was in 19 MR. BACHARACH: Do you mean the report
a pod already, so it wouldn't have been done 20 that she --
then. So 1 suspect that what happened was, was 21 MR. TERZIGNI'. Yes.
this was -- 1 think this came out of the police 22 BY MR. TERZIGNI:
investigation. 1 think they probably printed 23 A. The booking questions are done prior to the
that after his suicide as part of the 24 medical interview.
lnvestigation, that's my suspicion. I'm not 25 Q. Do you have access to the booking report prior

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 12 of 23

 

 

 

 

 

 

41 42
to the medical interview? 1 interview?

A. Yes. 2 A. 1 don't recall looking at this.

MR. TERZIGNI: Let me grab you some 3 Q. You don't recall looking at it?
cough drops. 4 A. 1 don't recall looking at it, 1 don't recall if
- - - - 5 it was available prior to his interview.
(Whereupon, there was a brief pause in 6 Q. Who completes a Booking Observation Report?
the proceedings.) 7 A. The officers complete this questionnaire.
- - - - 8 Q. The corrections ochers?

BY MR. TERzIsNI: 9 A. Yes.

Q. 1 believe my last question was does the Booking 10 Q. Are the COs directed to do anything if an inmate
Observatlon Report occur prior to the 11 answers eight of the questions yes?
comprehensive interview? 12 A. I'm not sure what they've been directed to do.

A. It's prior to the interview. 13 When certain ofncers are on they would alert us

Q. And l asked you did you have access to this 14 to the potential for a problem I'll say. There
report prior to Mr. Orlando's interview? 15 was one officer in particular who would say a

A. Yes. 16 Number 6 and he would have the person come and

Q. Do you recall reviewing this document prior to 17 sit in the nurses' station until he was
Mr. Orlando's interview? 18 evaluated 1 don't recall that happening with

A. 1 do not recall having this, and I'll say that 19 Mr. Orlando.
this is not always available. 20 Q. What does Number 6 mean?

Q. If it is availabie, do you try to look at it 21 A. It's have you recently ingested potentially
prior to the interview? 22 dangerous levels of drugs and/or alcohol. The

A. Yes. 23 officer did that just so the person -- if there

Q. And, I'm sorry, did you testify that you're not 24 was a need for early intervention or treatment
sure if you looked at it prior to Mr. Orlando's 25 that person would get that.

43 44

Q. Number 5, have you ever attempted suicide, the 1 with this document?
response is yes, Does that trigger anything to 2 A. I've seen an incident report before.
happen when that answer is given? 3 Q. But not this specific one?

A. Not that I'm aware of. If the person says that 4 A. Not this one.
they are suicidal, then yes, they're brought 5 Q. I just want to connrm some of the things you
into the nurses' station and they remain there 6 testified to earlier. In the what happened
under observation by either medical or 7 section of this document it says on the above
corrections until the process is completed 8 date and approximate time, that date and time is

Q. Is that called anything, suicide watch or 9 March 24th, 2016 at 10:25 p.m., Millvale Police
another name? 10 brought new court John Orlando in who was very

A. Suicide precautions 11 agitated and appeared to be under the influence.
To the best of your knowledge was Mr. Orlando 12 When the new court entered the sally port he
placed on suicide precautions? 13 started to say that he was going to fight

A. Not that I'm aware of. 14 anybody and he was on crystal meth. The

- - - - 15 Millvale Police brought it to my attention that
(Deposition Exhibit No. 5 was marked 16 he also stated that he wanted to hang himself.
for identification, and the witness reviewed the 17 Sergeant Haburjak requested the chair and 1
document.) 18 retrieved it. All assisting officers place the
- - - - 19 new court in the chair and his restraints were

BY MR. TERZIGNI: 20 checked for tightness by the intake nurse. He

Q. Let me know when you have had a chance to review 21 was then placed in H-9 without further incident
this document 22 Were you made aware of any of that

A. I have. 23 information prior to your interview with

Q. This is a County of Allegheny Incident Report, 24 Mr. Orlando?
it's been marked Exhibit 5. Are you familiar 25 A. Not at all.

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 13 of 23

 

 

 

 

45 46
Q. Should you have been? 1 that this information would have been carried.
A. The fact that he said he was going to hang 2 So, you know, they may have figured he was
himself 1 should have known. The thting part 3 already through the process, 1 don't know. lt
1 should have known just to be on alert for 4 could have been given to the next shift, but not
assault, but, like 1 mentioned, we never see 5 the shift after or the shift after or the shift
corrections' incident reports. 6 after. This is almost two days from this
Q. Okay. But the information that's contained in 7 (indicating) till the time thatI actually saw
this report, specincaiiy him saying he wanted 8 him, so 1 can't say that it wasn't carried over.
to hang himself, that is some information that 9 Q. But for your ability to do your job this is
should have been brought to your attention? 10 information you should have known; correct?
1t should have been communicated, yes. 11 A. Well, 1 think l did do my job, but it would have
Q. ¥ou also weren't aware that he was placed in a 12 been helpful to know.
restraint chair; correct? 13 - - - -
A. Correct. 14 (Deposition Exhibit No. 6 was marked
Q. Shou|d you have been made aware of that? 15 for identification, and the witness reviewed the
A. Yes, 1 would say yes. 16 document.)
Q. Whose duty would it have been to make you aware 17 - - - ~
of those things? 18 BY MR. TERZIGNI:
MR. BACHARACH: l object to the form. 19 Q. Ma'am, have you had a chance to review this
BY MR. TERZIGNI: 20 document?
A. 1t should have been carried over in the 21 A. I have.
shift-to-shift report, but from the time he came 22 Q. This is an Allegheny County Bureau of
in until the time that I actually saw him, it 23 Corrections Jaii Hea|thcare Services report, it
could have been communicated to the next shift, 24 is marked Exhibit 6. Are you familiar with this
but this would have been at least five reports 25 document?
47 48
A. l am. 1 A. Would you restate your question?
Q. What is this document? 2 Q. When an inmate comes into the jail and is
A. It's a segregation form, a clearance form, 3 talking about suicide, does that trigger the
Q. What does that mean? 4 suicide policy of the jail to go into effect in
A. It means that the nurse has checked on a person 5 any way?
who was in restraints or segregated in DHU 6 A. If a person comes in and states suicidal
housing or some such restrictive housing and 7 ideation, then yes, we would take precautions.
that basically the person that is checked in is 8 Q. And what precautions are those?
doing okay. 9 A. That person would be placed in a suicide
Q. The top part says inmate screaming he hopes he 10 prevention gown and placed in a cell,
dies in here, inmate shouting that we are ali 11 observation cell, and mental health notified to
going to die. That information was not passed 12 evaluate that person.
on to you; correct? 13 Q. How does a restraint chair fit into that policy?
A. I've never seen this before. 14 A. 1f the person is not following instructions, is
Q. Is that information that should have been 15 combative, assaultive, resistant, corrections
conveyed to you? 16 would have to first maintain safety, security,
A. Yes. 17 and after that time when the person is
Q. And whose job would that have been? 18 agreeab|e, then the suicide precautions would be
A. Again, shift-to-shift or a nursing report. 19 instituted and go on from there,
Q. When an inmate comes in and he's talking about 20 - - - ~
suicide, the policy that the jail has, is that 21 (Deposition Exhibit No. 7 was marked
put into effect at aii? 22 for identification, and the witness reviewed the
MR. BACHARACH: 1 object to the form. 23 document.)
You can answer. 24 - - - -
BY MR. TERZIGNI: 25 BY MR. TERZIGNI:

 

 

 

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CaS€ 2217-CV-OOJ_85-LPL

Document 50-13 Filed 09/26/18 Page 14 of 23

 

 

 

49 50

Q. Ma'am, have you had a chance to read this 1 can answer, but I'd just ask you not to
document? 2 speculate.

A. I have. 3 BY MR. TERZIGNI:

Q. Are you familiar with this document? 4 A. 1 don't really know what that means.

A. Not until now. 5 Q. What is justice-related services?

Q. 1 just have a few questions about some of the 6 A. I'm not sure. That's something in mental health
terms in this document First, who is Chariotte 7 and 1 don't know what they do or what that
Wright? 8 really is.

A. She is a former empioyee. 1 am not sure what 9 Q. Okay. And you don't know what it means when an
her title is or was. 10 inmate is referred to justice-related services?

Q. But she was an employee of the jail? 11 A. l don't know.

A. She was, 12 Q. Okay.

Q. Do you know if she was terminated? 13 A. I couldn't tell you.

A. I'm not sure what happened to her. She worked 14 Q. 1n here at about the middle of the page she
night shift, so 1 didn't usually see her. She 15 writes that she ran the new court in the MH
was always somewhere she was not supposed to be. 16 Database and then CIPS. Do you know what that

Q. So you didn't get along with Ms. Wright? 17 is?

A. No, 1 didn't say that, but she just -- 1 don't 18 A. 1 don't know what either of those terms or what
know what she did or what she was supposed to 19 systems those are.
do. 20 Q. Okay. You don't have access to a mental health

Q. What does JRS services mean? 21 database?

A. Justice-related services. 22 A. No, no.

Q. In here she discusses that Mr. Orlando was 23 Q. She states in here that Mr. Orlando was wearing
referred to JRS. What does that mean? 24 a Fentanyi patch and that a nurse, Trish,

MR. BACHARACH: I'd just ask -- you 25 located it on his right shoulder and removed it.
51 52
Do you see that? 1 MR. BACHARACH: That's what she said,
A. Yes. 2 yes,
Q. Is that proper to do, just to remove the 3 Bv MR. TERZIGNI:
Fentanyi patch? 4 A. lthought it said cleared to population.

A. Yes, it is. 5 Q. Cleared to population, okay. And then see

Q. I'm asking because 1 don't know. 6 message or see nursing March 26th, 2016.

A. Yeah, it ls. 7 A. Yes.

Q. Okay. 8 Q. And it appears to be signed by Ruth Harrison.

MR. TERZIGNI: 1 need just a few more 9 A. That's my assumption.
minutes, but 1 don't think I have much more. 10 Q. And below that it says received by mental health
- - - - 11 staff and Ruth Harrison's name is below there.
(Whereupon, there was a brief pause in 12 So Ms. Harrison received this referral ; correct?
the proceedings.) 13 A. Yes.
- - - - 14 Q. Would there have been a form that she fills out

BY MR. TERZIGNI: 15 after talking with the inmate?

Q. Ma'am, we're back on the record. Ijust have 16 A. 1'm not sure what the mental health specialist
one, maybe two more questions for you. Cou|d 17 fills out in addition to the referral, I don't
you please go to Exhibit 3, it's your referral 18 know.
form. 19 Q. Okay. And Ms. Harrison would have had to have

A. ¥es. 20 seen the inmate before making the, 1 guess,

Q. 1 want to direct you to the box towards the 21 referral to clear the inmate to population ;
bottom of the page, the referral classification 22 correct?
and then the language that we were trying to 23 A. That's correct.
decipher earlier, we believe it said inmate to 24 MR. TERZIGNI: John, do you have any
population, was that it? 25 reports from Ruth Harrison?

 

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 15 of 23

 

 

 

 

 

MR. BACHARACH: 1 gave you everything 53 1 1 believe it's the time that the interview was 54
1 have. I'll check again. I mean 1 know 1 2 concluded.
don't have anything else. 3 Is that something you enter or is it something
MR. TERZIGNI: 1 looked again, and I 4 that's automatic, if you know?
didn't find anything from her. 5 It's automatic. When the interview is
MR. BACHARACH: 1 know 1 don't have 6 completed.
any medical record other than what 1 gave you. 7 Just at this time, what was your normal shift,
MR. TERZIGNI: Okay. 8 if there was a normal shift?
MR. BACHARACH: Like I said, 1 can 9 1 worked 6 to 2:30.
maybe check and see. 10 Monday through Friday?
MR. TERZIGNI: Okay. 11 No, 1 have alternating Monday and Friday off and
MR. BACHARACH: From what 1 know you 12 every other weekend.
have whatI have. 13 Is it common or uncommon for inmates you
MR. TERZIGNI: Okay. That’s all the 14 interview to have mental health and/or drug and
questions l have. 15 alcohol issues?
- - - - 16 Common.
EXAMINATION 17 Would it be possible for you to give a rough
- - - - 18 estimate of how common that is?
ev MR. BACHARACH: 19 I'd say 90 percent.
Q. 1 have just a couple things. On Exhibit 1 in 20 0n Exhibit 1, again, you were asked about the
the upper right corner there's a date, it says 21 entry records received and then "N" for no 1
Ent. Date and then below it is Ent. Time and it 22 presume was put in there. Do you get medical
has 11:44:15 a.m. 23 records like that normally when an inmate is
A. ves. 24 brought iri by the police? In other words, does
Q. Do you know what that time represents? 25 someone bring that inmate's medical records with
55 56
them when a person ls brought into the jail by 1 No, 1 don't know.
the police? 2 MR. BACHARACH: 1 don't have any other
A. Only from a hospital or another facility, 3 questions,
another jail. 4 MR. TERZIGNI: 1 don't have anything
Q. So if somebody is brought iri from a hospita|, 5 else.
they might have records or if they're brought in 6 MR. BACHARACH: Okay, we'l| read it.
from anotherjail they might have medical 7 THE COURT REPORTER: Do you need a
records? 8 copy of this?
A. That's correct. 9 MR. BACHARACH: Oh, yeah, same thing
Q. Vou were asked obviously a number of questions 10 as my prior order, whatever 1 ordered the last
and you were shown a number of documenE by 11 time.
Mr. Teizigni, some of which you had seen, some 12 THE COURT REPORTER: Thank you.
of which you hadn't seen; correct? 13 4 - - -
A. That's correct. 14 (Whereupon, the proceedings were
Q. Knowing what you know now from these documents 15 concluded at 2:53 pim.)
and from the questions that were asked by 16 ~ - - -
Mr. Terzigni, would you have done anything 17
different than what you did on that day when you 18
saw Mr. Orlando? 19
A. No, 1 don't believe that I would have. 20
Q. There was mention of -- 1 lost it, Exhibit 7 21
about Chariotte Wright who apparently works 22
for -- or was doing something for JRS, 23
justice-related services. Do you know 24
specifically who she worked for? 25

 

 

 

 

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Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 16 of 23

 

 

 

 

 

 

57 58
CoMMoNWEALTi-i oF PENNSYLVANIA ) CERTIFICATE 1 COMMONWEALTH oi= PENNsYl_vANIA ) E R R A T A
CouNTY oF ALLEGi-lENY ) s H E E T
COUNTY OF ALLEGHEN¥ ) ss: 2
1, TERESA LATHAM, have read the foregoing pages
I, Beth E. We|sh, a Court Repoftel‘ and 3 of my deposition given on Tuesday, May 29, 2018, and
wish to make the following, if any, amendments
Notary Public in and for the Commonwea|th of 4 additions, deletions or corrections:
Pennsylvania, do hereby certify that the witness, 5
TERESA LATHAM, was by me nrst duly sworn to testify 6
to the truth, the whole truth, and nothing but the 7
truth ; that the foregoing deposition was taken at the 8
time and place stated herein; and that the said 9
deposition was recorded stenographicaily by me and 10
then reduced to printing under my direction, and 11
constitutes a true record of the testimony given by 12
said witnessl 13
1 further certify that the inspection, 14
reading and signing of said deposition were NOT 15
waived by counsel for the respective parties and by 16
the witness. 1 further certify that 1 am not a 17
relative or employee of any of the parties, or a 18
relative or employee of either counselr and that I am 19 In all other respects, the transcript is true and
correct.
in no way interested in this action. 20
IN WITNESS WHEREOF, 1 have hereunto set my 21 TEREsA LATHAM
hand and affixed my seal of office this 4th day of 22 subscribed and sworn to before me this
day of f, 2018.
June, 2018. 23
24 Notary Public
QCR Reference No. BW2909
Notary Public 25
59

QUALITY COURT REPORTING
7012 Kevin Drive
Bethel Park, PA 15102
412.833.3434

June 4, 2018

TO: John A. Bacharach, Esquire
Allegheny County Law Department
300 Fort Pitt Commons Bui|ding
445 Fort Pitt Boulevard
Pittsburgh, PA 15219

RE: DEPOSITION OF TERESA LATHAM
NOT[CE OF NON-WAIVER OF SIGNATURE

Piease have the deponent read her deposition
transcript. All corrections are to be noted on the
preceding Errata Sheet.

Upon completion of the above, the Deponent must
affix her signature on the Errata Sheet, and it is to
then be notarized.

Please forward the signed original of the Errata
Sheet to Massimo Teizigni, Esquire for attachment to
the original transcript, which is in his possession.
Send a copy of same to me.

Piease return the completed Errata Sheet within
thirty (30) days of receipt hereof.

Beth E. Welsh
Court Reporter

cc: Massimo Terzigni, Esquire

 

 

Case 2:17-cv-00185-LPL Document 50-13 Filed 09/26/18 Page 17 of 23

 

 

 

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abthy (46=9)
above (35=20)(37:13)

(44:7)(59=13)
above-named
abrupt (11=21)
accepted (27:16)(27=20)
access (12:24)(13:2)
(13=25)(15=7)(15=8)
(21=4)(21=8)(21=10)
(40=25)(41=14)(50=20)
accessible (27=13)
accordance (2:2)
according (10:5)

act (8:3)

acung (7=14)

action (57:20)

actual (29:16)
actuaHy (10=9)(27=24)
(31=14)(45=23)(46=7)
add (35:19)(35=25)
addition (52=17)
additional (30=13)
additions (58:4)
administration (23=18)
adndsmon (5=14)(6=16)
(6=18)(7:5)(7=6)(13=23)
(40=13)

adnis§ons (40=17)
adnntted (6=22)(14=18)
(23=5)(23=24)(39=15)
affect (9=16)

afo (59:13)

afoed (57=22)

after (6=3)(6=14)(6=16)
(6=18)(6=19)(11=1)
(11=2)(11=3)(11=8)
(11=10)(11=16)(12=12)
(18=16)(22=4)(24=2)
(29=22)(39=19)(39=24)
(40=13)(46=5)(46=6)
(43=17)(52=15)
afterward (11=5)(12=13)
agkated (44=11)

agree (20:7)
agreeable (48=18)
agreed (27=19)(27=21)
ahead (17:23)(29=3)
aid (5=16)

alcohol (9=14)(24=8)
(30=25)(33=4)(42=22)
(54=15)

alert (42=13)(45=4)
aHeged (21=23)
ALLEGHENY (1:7)(2:16)
(4=22)(5=3)(3=11)
(25=25)(38=14)(43=24)
(46=22)(57=2)(58=1)
(59=6)

(24=19)

aHeghenycounty (2:15)
aHovved (22=6)
ahnost (23=15)(46=6)
along (49=17)
akeady (28=7)(28:9)
(39=20)(45=3)
akernadng (54=11)
ah~ays (5=2)(41=20)
(49=16)

amendments (58=3)
angry (7=25)(11=17)

(11=19)(31=10)

another (24=16)(25=10)
(39:11)(43:10)(55:3)
(55=4)(55=7)

anmNer (10=3)u2=20)

 

(13=9)(14=3)(14=19)
(15:24)(18=10)(13=13)
(19=21)(23=10)(26=18)
(30=23)(35=1)(43=3)
(47:24)(50=1)

ansvvered (21:13)(28:13)
ansvvedng (22=17)
(27=18)(28=23)

ansvvers (11=20)(17:18)
(29=5)(31:15)(42=11)
anybody (19=25)(25=8)
(44=14)
anymore
anyone (20=6)(25=1)
anything (5=18)(11=13)
(11=18)(12:7)(14=12)
(15=3)(16=20)(20:5)
(27=23)(30=20)(30=21)
(30=24)(35:16)(35=17)
(35=24)(35=25)(42=10)
(43=2)(43:9)(53=3)
(53=5)(55=17)(56:4)
anyvvay (20=6)
anyvvhere (16=8)
apparenHy (55=22)
APPEARANCES (2:7)
appeared (44=11)
appears (52=8)

applied (24:11)
appropdate (13:23)
appropriateness (5:14)
approxhnate (44=3)
Arabia (18:2)
area (5=20)
arraignment
(11=1)(11=2)
arresdng (7=18)
arrests (23:4)(23=19)
arHval (12=17)
arHved (12=14)(19=6)
(19:13)
ardves
(13=5)
arriving (13=17)

ask (13=16)(14=13)
(18=22)(28=8)(30=19)
(40=11)(49=25)(50=1)
asked (13:22)(21:10)
(31=8)(41=14)(54=20)
(55=10)(55=16)

askh\g (23=1)(24=16)
(24:23)(25=10)(27=18)
(31:5)(51:6)

assault (45:5)
assaultive (43=15)
assess (21=25)
assessing (5=23)
assessment (5:13)
(5=16)(5=18)(5=22)
(5=25)(6=7)(6=10)(6=19)
(7=4)(9=23)(11=4)
(12=13)(12=23)(15=18)
(17:3)(18=6)(19=15)
(21:17)(23=4)(23=19)
(24=15)(24:21)(26=16)
(27=8)(33=6)(33=7)
assessments (23=7)
assisting (44=18)
assodated (32=23)
(32:25)(33=3)

assumed (27=23)
assumption (52=9)
attach (35=25)

attached (35=13)(35=14)
attachrnent (59=15)
attempted (43=1)

(9:13)

(6:3)(6:20)

(7:18)(10:25)

attempts (17:15)
attendon (44=15)(45=10)
attorney (22:20)
authodty (17:4)(17=7)
(17=9)

automatic (36=12)(54=4)
(54:5)

automatically (10:15)
(13:14)

available (27=1) (41=20)
(41=21)(42=5)

average (36=19)

avvare (19=16)(20=16)

(20:17)(20:24)(21:12)
(21:19)(38:1)(43:4)
(43:14)(44:22)(45:12)
(45:15)(45:17)

avvay (9z5)

brought (16=18)(43=5)
(44=10)(44=15)(45=10)
(54=24)(55=1)(55:5)

(55:6)
Bquing (2=16)(59=6)
Bureau (46:22)

 

 

-BY (25=22)(31=22)
(33=14)(38=9)(41=9)
(43=20)(46=18)(48=25)
(51=15)(53=19)

 

 

 

 

 

Bacharach (2=15)(3=2)
(10=2)(11=25)(12=19)
(13=7)(14=6)(14:11)
(15:20)(19=18)(19=24)
(20:3)(20=10)(20=14)
(22:11)(22:13)(23=9)
(23=14)(26=17)(29=2)
(34=23)(34=25)(38:18)
(38=22)(39=2)(39=5)
(39:10)(39=14)(40=19)
(45=19)(47:23)(49=25)
(52:1)(53=1)(53=6)
(53=9)(53=12)(53=19)
(56=2)(56=6)(56=9)(59=5)
back (16=18)(24=12)
(51=16)
based (24=4)
baseHne (5=25)
badcaHy (9:7)(26=5)
(27=22)(40=11)(47=3)
behavior (28 = 21)
beHeve (8=13)(11:24)
(12=5)(12=15)(16=6)
(17=17)(17=20)(17=24)
(18=4)(18=12)(18=16)
(20=21)(21=14)(22=21)
(22=25)(31=13)(31=14)
(35=5)(37=25)(39=13)
(41=10)(51=24)(54=1)

(55:20)
behaved (17=22)
below (35=12)(35=18)

(52=10)(52=11)(53=22)
best (43=12)

Beth (1=21)(2=2)(57:3)
(59=19)

Bethel (59=2)

bevNeen (7=3)(8=1)
(12=17)(39:17)

bin (30=8)(30=10)
blank (35=15)(36=5)
bleeding (24=10)(24=13)
blood (23=24)(24=4)
board (16i19)

BooHng (38:13H40=3)
(40=10)(40=23)(40=25)
(41=10)(42=6)

bottom (33=25)(34=18)
(36=23)(51=22)
Bou|evard (2=17)(59=7)
box (34=18)(35=4)(35=9)
(36=22)(51=21)

boxes (36=2)(36=5)
bnef (41=6)(51=12)
bdng (54=25)

brh1ging (7=19)

 

C
caH (13:14)
caHed (2=1)(13=13)(43:9)
caHs (30=11)
care (7=11)(7=17)(8=10)
(23=17)
earned (16=14)(45=21)

(46=1)(46=8)

case (22=18)(24=7)
(30=23)

cause (14=10)

ceH (48:10)(48=11)
Center (1=17)(2:4)(2:11)
certain (18=9)(18:10)
(13=16)(22=4)(28=24)
(39=11)(42=13)

certainly (8:14)
certainty (8:14)
CerdHcate (3:3)(57=1)
cerdfy (57=5)(57=14)
(57=17)

chah' (19=11)(21=22)
(22:3)(22:5)(22:6)
(22=9)(34=16)(44=17)
(44:19)(45:13)(48:13)
chance (31=23)(33:15)
(38:10)(43:21)(46:19)
(49=1)
change
(23=10)
characteHzes
(19=19)
Chariotte (49=7)(55:22)
check (24=1)(24:3)
(24=9)(24=12)(53=2)
(53:10)

checked (27=24)(35=4)
(35¢9)(44:20)(47=5)
(47=8)
checks
CIPS (50:16)

drded (14=19)
circumstance (24=5)
circumstances (22:10)
(22=15)(38=1)

Chdl (2:2)

(9=3)(9=4)

(15=22)

(24=7)

dasses (8=18)(8:20)
(9=14)
classification (36=1)

(36=24)(51=22)

dear (37=9)(37=13)
(37=14)(52:21)
dearance (47=3)
deared (7=8)(7=17)
(7=22)(8=4)(13=17)
(15=1)(52=4)(52=5)
clearing (7:6)
cHent (27=15)
chboard (16=7)
Clonidine i32=11)(32=19)
con1 (2=10)
combative (48=15)

connes (6=3)(24=7)

 

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Case 2:17-cV-00185-LPL Document 50-13

Filed 09/26/18 Page 18 of 23

 

 

(24=10)(27=7)(30=9)
(47=20)(48=2)(48=6)
comfortable (30=22)
conunendng (2=5)
comments (30=13)
(35=12)

conunon (26=15)(54=13)
(54:16)(54:18)

Conunons (2:16)(59=6)
Commonwea|th (2:3)
(57=1)(57=4)(58=1)
communicated (16=21)
(16:22)(16=25)(45=11)
(45=24)

communication (16=16)
complaints (23=14)
complete (6=7)(27:25)
(42=7)

completed (10=13)
(27=23)(34=8)(43=8)
(54=6)(59=17)

completes (42:6)
completion (59:13)
comprehensive (5=12)
(5=16)(5:22)(7=4)(11=3)
(12=23)(17=3)(18=6)
(19=15)(23=4)(23:6)
(24=21)(25=6)(26=16)
(34=9)(40=16)(41=12)
concerning (12:8)
concerns (5=15)
conchaded (54=2)(56=15)
condition (7=10)
conducted (24:18)(39=7)
conHrn1 (44=5)
connecdon (22z18)
consider (17=11)(23=22)
considered (10=23)(36=7)
consdtutes (57:12)
contact (28=2)(28=4)
(28=9)
contained
contains
control

(45:7)
(36:2)
(32=22)
conveyed (47=16)
cooperadve (11:20)
copy (56:8)(59:16)
Codzon (5=2)(5=4)(5=5)
corner (53:21)
corrections (21=1)(21=4)
(21:8)(42=8)(43=8)
(46=23)(48=15)(58=4)
(59=11)
corrections' (45=6)
correcdy (15=21)(19=20)
COs (19=9)(42=10)
cough (41:4)
counsel (57:16)(57:19)
counted (28=12)
COUNT¥ (1=7N2=1w
(4=23)(5=3)(8=11)(10=6)
(25=25)(38=14)(43=24)
(46:22)(57:2)(58=1)
(59=6)
couple (12=16)(53:20)
COURT (1:1)(222)(3:3)
(44=10)(44=12)(44:19)
(50=15)(56=7)(56=12)
(57=3)(59=1)(59=19)
crystal (44=14)
current (28=14)
currendy (34=10)
cursory (13:22)(14=13)
curt (11=21)

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dangerous
database
(50=21)
DATE (1=15)(26=8)
(26=9)(33=6)(38=19)
(39:6)(39=9)(39=12)
(40=2)(44=8)(53=21)
(53=22)

date/thne (33=5)
dated (33=21)(38=14)
day (55=18)(57=22)
(58=22)

days (12=16)(32=10)
(32=11)(32=12)(32=14)
(32=15)(32=16)(36=5)
(46:6)(59:18)

Deceased (1=4)
dedpher (51=24)
decHned (27=16)
Defendants (1=8)(2=14)
ddedons (58=4)
demeanor (9=3H12=m
(31=7)(31=9)

denies (30=13)

dental (5=24)
Deparunent (2=16)(59=6)
depend (7:23)
deponent (59:11)(59:13)
deposed (4=11)
DEPOSITION (1:12)
(2=1)(3:7)(3:8)(3=9)
(3=10)(4=13)(11=11)
(25=19)(31=18)(33:10)
(38=5)(43=16)(46=14)
(48=21)(57=8)(57=10)
(57=15)(58=3)(59=9)
(59=11)

desche (5=10)
descdbed (35=12)
deske (24=25)

desk (20=25)(31=3)
detox (30=17)(31=1)
(32=18)(32=20)

DHU (4%6)

dwgnods (35=6H35=7)
diarrhea (32=23)

didn't (4=15)(11=13)
(14=11)(14=14)(16=6)
(17=17)(17=23)(17=24)
(21=17)(22=1)(30=24)
(31=14)(49z15)(49=17)
(49=13)(53=5)

die (16=2)(16:3)(20:4)
(20=8)(20=9)(20:11)
(47=12)

dies (47=11)

difference (7=3)
different (18:18)(19:9)
(19=12)(55=18)

dhect (51:21)

dhected (42=10)(42=12)
direction (57=11)
directly (20=5)
discharge (16=16)(16=19)
discuss (30=14)
discussed (9=15)
discusses (49=23)
dkcus§ng (30=22)
DISTRICT (1=1)
document (11:11)
(11:16)(25=16)(25=20)
(25:24)(26:2)(27:25)
(31=20)(31=24)(32=3)
(32=5)(33=12)(33=16)

(42=22)
(27=3)(50=16)

 

(33=22)(33=25)(34=5)
(35=23)(38=7)(38=11)
(38=16)(41=17)(43:18)
(43=22)(44:1)(44=7)
(46:16)(46:20)(46:25)
(47=2)(48=23)(49=2)
(49=4)(49:7)
documentation
(19=16)
documented
(16=4)(15=8)
documents (4=15)
(20:24)(21=1)(21:5)
(21=8)(55=11)(55=15)
Does (6=19)(8=11)
(10=22)(17=7)(17=25)
(18=14)(23=15)(25=7)
(25=12)(27=16)(29=10)
(29=22)(30:15)(37=22)
(40:13)(40=16)(41=10)
(42:20)(43:2)(47:4)
(48:3)(48:13)(49:21)
(49=24)(54:24)
doesn% (13=20)

done (10=25)(11=2)
(11=3)(11=5)(16=25)
(39=15)(39=16)(39=18)
(39:20)(40=23)(55=17)
door (13=21)(23=25)
(26:23)
Dovvn
(31:11)
dravvh1g (12=1)
dressh1g (24:11)(24=14)
dee (59=1)

drops (41=4)

drug (9=15)(54=14)
drugs (42:22)

dmy (4=2H57=®
Dudng (17=3)(25:4)
(30:1)(30=2)(31=10)
dudes (23=1)(23=17)
duty (45=17)

dying (19=7)

(16=1)

(15=17)

(26=11)(29=25)

 

 

each (30=11)

EarHer (13=13)(21=10)
(28:23)(44:6)(51=24)
eady (42:24)

eHect (20:13)(20=14)
(47=22)(48=4)

eHeche (24=10)
eight (42=11)

eRher (43=7)(50=18)
(57:19)
elaborate
elevated (23=24)
else (7=15)(11:18)
(25=1)(25=8)(34=3)
(53=3)(56=5)
emergencies
emergency
(28=8)
emergent
employed (4=22)
employee (49=9)(49=11)
(57=18)(57=19)

Ent (26:8)(53=22)

enter (54:3)

entered (44=12)
enteHng (28:5)(40=12)
entry (28=6)(54=21)
environment (7:11)
equate (17=8)

Errata (3:4)(59:12)

(14=21)(25=2)

(5:17)
(23=2)(28=4)

(36=2)

 

(59=13)(59=15)(59=17)
Esquire (2=9)(2=15)
(59:5)(59=15)(59=20)
essenUaHy (7=6)
ESTATE (1=4)

esthnate (54:18)
evaluate (21=25)(43=12)
evaluated (10:8)(42:18)
evaluation (10=12)
(10:14)(10=17)(12:11)
(23=18)(23:23)(36=4)

ever (4:11)(6:25)(21:7)
(43=1)

every (10:21)(10=22)
(54:12)

everybody (18:25)
(23=15)

everyone (14=24)

(18=20)(18=22)(13=23)
(30=3)(36=6)(36=8)

everything (53=1)
everything's (9:6)(9:9)
exacdy (8:9)
exandnadon (2=1)(3=2)
(4:5)(53=17)

exandned (4:3)

Exhibk (3:7)(3=8)(3:9)

(3=10)(25=18)(25=25)
(31=13)(33=10)(33=21)
(38:5)(38=15)(43=16)
(43=25)(46=14)(46:24)
(48=21)(51=18)(53=20)
(54=20)(55=21)
ExHIBITs (3=6)
explain (26=4) (26=13)
(30=18)(34=5)(35=5)
(40=7)
explicitly
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(20=1)
(24=25)

 

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facth (8=8)(55=3)
fact (39=7)(40=1)(45=2)
facts (19:20)

factual (22=10)

fanHHar (8=15)(8=16)
(11:6)(26=1)(32=2)
(33=18)(43=25)(46=24)

(49=4)
Federa| (2=2)
feeHng (9=20)(12:12)

fek (12=9)(12=13)
Fentanyi (50=24)(51=4)
fevv (13=22)(14=13)
(14=13)(49=6)(51=9)
fifteen (24:12)

tht (44=13)

thdng (45=3)

ngred (46=2)

le (33=6)

HHs (52=14)(52:17)
Hnd (28=3)(53=5)

Hne (29:3)(34=25)
Hrst (5=16)(6=2)(13=5)
(22=5)(23=22)(37=9)
(48=16)(49=7)(57=6)

Ht (48=13)

Hve (32=10)(45=25)
foHoang (48=14)(58:3)
foHovvs (4=3)
foregoing (57:8)(58:2)
forn1 (10=3)(12=19)
(13=8)(14=7)(14=10)
(14=12)(14=14)(14=18)
(15=2)(15=4)(15=7)
(15=9)(15=20)(19=18)

 

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Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 19 of 23

 

 

(22=13)(26=4)(26=17)
(29=2)(33=6)(33=18)
(33=20)(34=7)(34=23)
(36=15)(45=19)(47=3)
(47=23)(51:19)(52=14)
fonner (49:9)
Formerly (27=11)
Fort (2=16)(2:17)(59=5)
(59=7)

forty-eight (36=13)
(36=14)(36:16)

forun\ (30=22)
fonNard (59:15)

four (36:2)

founeen (36=4)
frame (22=1)

FHday (54=10)(54=11)
fron1 (9=3)(11=18)
(11=23)(13=5)(16=16)
(22=5)(22=8)(22=19)
(22=20)(28=6)(30=10)
(38=13)(39=1)(45=22)
(46=6)(48=19)(52=25)
(53=5)(53=12)(55=3)
(55=5)(55:7)(55=15)
(55:16)

front (25=4)(25=8)
further (24=14)(44=21)
(57=14)(57=17)

 

G

 

Gateway
(2=11)
gave (31=2)(53=1)(53:7)
general (5=10)(31=7)
(31=9)(37=15)

generaHy (40=8)

get (5=25)(18=14)
(20=25)(22=2)(42=25)
(49=17)(54=22)

(1=17)(2=4)

gets (30:10)

getHng (33:18)(39:1)
giving (9:4)

gmd| u=w)

goes (29=13)

gone (21=15)

got (8=2)(19=20)(19=23)

govvn (10=11)(17=7)
(17=11)(17=16)(18=1)
(18:3)(18=5)(22=9)
(22:12)(48=10)

grab (41=3)

ground (5=19)(5=20)
(23=20)

guess (6=14)(52=20)

 

H

 

Habudak
hadnT
hand
handed
handle (7 =15)

handed (10:n
handvvddng (32:5)
(33=22)(34=1)(36=22)
hang (7=20)(44=16)
(45=2)(45=9)

happen (43:3)
happened (5:13)(8=1)
(29=14)(29=17)(39=21)
(44=6)(49=14)
happening (42 =18)
harn1 (19=25)(24=24)
(24=25)
harming
(20=6)

(44:17)
(55=13)

(36=15)(57=22)

(25=24)(26=24)

(9=25)(19=7)

Harrison
(52=8)(52=12)(52=19)
(52:25)
HarHson%
head (31:11)(31=12)
heahh (5:24)(7=12)
(7=13)(8:8)(10=12)
(10:14)(10=17)(10=19)
(10=20)(10=21)(12=10)
(18=15)(18=23)(18:24)
(19=1)(19=3)(28=15)
(29=9)(29=11)(29=12)
(29=20)(29=23)(29=25)
(30=4)(30=5)(30=8)
(30=9)(30=15)(30=25)
(31=4)(31=6)(33=20)
(34=7)(35=4)(35=7)
(35=8)(35=14)(35=22)
(36:4)(36=10)(36:20)
(37=16)(37=21)(43=11)
(50=6)(50=20)(52=10)
(52=15)(54=14)
Hea|thcare
hekl (4=25)
help (21=17)
helpful (46:12)
here
(20=8)(20=9)(20=11)
(27=20)(28=11)(29=14)
(32=7)(33=5)(47=11)
(49:23)(50=14)(50=23)
hereby (57=5)

herein (57:9)

hereof (59:13)
hereunto (57=21)
heroin (11:24)(12=4)
(12=5)(30=25)(32=20)
(32=23)(33=1)

he's (7=20)(13=9)
(13=16)(21=23)(47=20)
hhnseH (7=14)(7=20)
(9=25)(15=15)(24=24)
(25=1)(44=16)(45=3)
(45=9)
listory
(28=17)(23=18)(23=21)
(35:4)

hopes (47=10)
hospnal (16=16)(26=2
(26=22)(55=3)(55=5)
hospkahzadon
hour (24=1)
hours (24=1)(36=3)
(36=4)(36=13)(36:14)
(36=17)(36=21)
housh\g (29=13)(36=9
(47=7)
However

(37=8)(52=

(5=9)

(32=1)(46=

(16=2)(16=3)(20=

(37=18)(37=20)

11)

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(28=15)(23=16)

0)

(28=19)

)

 

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idea (15=2)(37=4)
ideadon
(43=7)
ideaHons (34=21)
idenUHcaHon (25:19)
(31:19)(33:11)(38:6)
(43:17)(46:15)(48:22)
immediate (5:15)
important (16:9)
impression (40:2)
incident (11:7)(19:8)
(19=11)(19=13)(19=16)
(19:17)(20:22)(20:23)
(21=7)(21=12)(21:20)
(43:24)(44=2)(44=21)
(45=6)

(17=14)(34=19)

 

indude (7=13H23=3)
(23=17)(25=7)

indudes (18=6)

INDEx (3=6)

indicate (14:22)
indicated (5=17)(12=13)
(23=20)(24=4)

indicath\g (22=23)(46=7)
individual (5:13)(24=19)
inHuence (44=11)
information (14:5)
(14:23)(15=9)(15=13)
(16=9)(16=12)(16=18)
(16=19)(22=2)(44=23)
(45:7)(45:9)(46:1)
(46:10)(47=12)(47=15)
ingested (42:21)
hudal (6=14)(6=23)
(6=25)(13=2)

undated (30=17)(31=1)
injuries (5:15)(5:24)
(7=10)

hunate (6=2)(6:22)(7=8)
(7=13)(7:19)(8=2)(8=5)
(9=24)(10:21)(10=22)
(10=25)(13=16)(17=4)
(18=14)(22=6)(25=25)
(27=7)(27:8)(28=25)
(29:23)(30:5)(36:12)
(36=20)(42=10)(47=10)
(47=11)(47=20)(48=2)
(50=10)(51=24)(52=15)
(52=20)(52=21)(54=23)
hunates (6=8)(10=14)
(23=20)(40=11)(54=13)
inmate's (12=24)(27=4)
(40=13)(54=25)
in-services (8=19)
inspecdon (57=14)
insdtuted (48=19)
instrucdons (48=14)
intake (4=17)(4=19)
(5=20)(6=14)(6=23)
(6=25)(7=3)(9=23)
(10=15)(10=23)(11=9)
(13=2)(13=5)(13=14)
(20=22)(26=4)(30=9)
(31=1)(34:9)(35=13)

(44=20)

intakes (6:2)(6=5)
(13=15)

intent (10¢10)(24:23)
interacdon (24=17)
interacdons (25=11)
(25=13)

interested (57=20)
InterrogatoHes (22=24)
interval (24=2)
intervendon (42=24)
interview (4=17)(4=19)

(6=13)(11=3)(11=9)
(11=14)(11=18)(14=3)
(24=18)(24=20)(25=6)
(26:6)(26=9)(27=1)
(27=11)(27=22)(29:16)
(29=19)(34=9)(34=12)
(39:7)(40=24)(41=1)
(41:12)(41=13)(41=15)
(41=18)(41=22)(42=1)
(42=5)(44=23)(54=1)
(54=5)(54=14)
interviewed (12 =15)
(27=19)(27=21)
interviewing (17 :10)
into (40=12)(43=6)
(47=22)(48=2)(48=4)

 

(48=13)(55=1)

invesdgadon (39=23)
(39=25)
issue (7=12)(30=14)

issues (31=6)(54=15)

 

J

 

JaH (4=23)(5:3)(5=14)
(6=2)(6=16)(6=18)(5=22)
(7=5)(7=7)(7=9)(8=11)
(10=25)(12=14)(12=17)
(13=6)(13=17)(13:23)
(19:6)(19:7)(19=14)
(23=5)(25=25)(27=9)
(32=1)(37=22)(33=14)
(39=16)(40=14)(46=23)
(47=21)(48=2)(43=4)
(49=11)(55=1)(55=4)
(55:7)

JEAN
job

(1=3)(23=3)
(46=9)(46=11)(47=13)
JOEL (1=17)(2=4)(2=10)
JOHN (1=4H2=15H4=20)
(24=24)(34=8)(44=10)
(52:24)(59=5)

JRS (49=21)(49=24)
(55=23)

June (57=23)(59=4)
Justice-related ( 49 = 22 )
(50=5)(50=10)(55=24)

 

K

 

Kevh1
key
kHHng
ldnd (36=11)

kinds (16=22)

knowing (21=15) (21=25)
(55=15)
knowledge
(43=12)
knovvn (21:16)(45=3)
(45=4)(46=10)

(59=1)
(21=14)
(15=15)

(21=14)

 

L

 

language (51=23)

last (28=17)(30=12)
(33:2)(41=10)(56=10)
later (36=17)

LATHAM UleHz=u
(4=1)(4=10)(4=11)(57=6)
(58=2)(58=21)(59=9)
LAvv (1=17)(2:4)(2=10)
(2=16)(59:6)
LAVVNICZAK
lead
(29=6)
least

(1:3)
(7:8)(7;21)(28:24)

(19:25)(45:25)
leave (40=2)

left (31=3)(35:15)(36=5)
left-hand (26:11)
length (5:6)

less (36=16)

level (5=19)(5=20)
(23=21)
levels
likely (9:20)

Hnnted (23=3)

Hne (37=3)(37=6)(37=9)
(37=13)

Hneage (18=2)

Hst (13=6)(28=12)
Hsted (8=25)

located (50:25)
LOCAJION UA17)

long (4=22)(5:5)(5:9)

(42=22)

 

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Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 20 of 23

 

 

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5)(29=22)(36=19)
(11=8)(22=23)
25)(53=4)
(11=10)(11=16)
2)(42=3)(42=4)
(37=3)(37=7)(37=9)
(32=13)
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(55=21)

(19=12)

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(33:
(43:
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(4=8)(25:15)
1)(31:23)(33=15)
10)(40=5)(46=19)
1)(51=16)
(10:9)(19=6)
15)(20=17)(20=24)
12)(21=19)(44=22)
15)

(48=16)
(9:5)(9:8)
20)

(18=21)
(11=7)(12:14)
15)(13=20)(18=25)
8)(33:5)(33:21)
4)(37=11)(38=14)
9)(52=6)
(25=18)(25=24)
20)(31=18)(33=10)
21)(38:5)(38=15)
16)(43:25)(46:14)
24)(43=21)

Masshno (2=9)(59=15)
(59=20)
matter (18=21)

l“ean

(5=20)(6=5)(6=6)

(6=16)(14=7)(14=12)

(14:
(21:
(24:
(27:
(40:
(49:

meaning
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(26:
(30:
(37:
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(15:
(24:
(27:
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(53:
(55:

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14)(15:12)(17:25)
14)(21:16)(24:15)
20)(25:12)(27:5)
17)(29:10)(30:15)
19)(42:20)(47:4)
21)(49:24)(53:2)

(37=17)
(25:4)(26:13)
14)(27:20)(29:12)
18)(30=19)(31=2)
5)(37=14)(39=6)
5)(50=4)(50=9)
(25=2)

(24=14)
(14:4)(14:23)
9)(15=12)(24=18)
20)(26=1)(26=5)
4)(27=5)(27:7)
10)(28=14)(30=14)
24)(41=1)(43=7)
7)(54=22)(54=25)
7)

(24=3)(24=6)

8)

(23=25)
(23=18)

8)(35:10)

(28:18)
(24:9)(32:20)

(31:2)
(17=1)

(23:20)
(5:24)(7:12)

(7:13)(8:8)(10=12)

(10:

14)(10=17)(10=19)

(10=20)(10=21)(12=10)
(13=15)(18=23)(18=24)
(13=25)(19=3)(28=15)
(29=9)(29=10)(29=12)
(29=20)(29=23)(29=25)
(30=3)(30§5)(30=8)
(30=15)(30=24)(31=4)
(31=6)(33=20)(34=7)
(35=4)(35=7)(35=3)
(35=14)(35=22)(36=4)
(36=10)(35=20)(37=16)
(37=21)(43=11)(50=6)
(50=20)(52=10)(52=16)

(54=14)

mention (55=21)
lnendoned (45:5)
rnessage (37=3)(37=11)
(52=6)

inet (37:18)

rneth (44=14)

nnddle (37=3)(50:14)
milligrams (32 =9)

(32=10)(32=12)(32=13)
(32=14)(32=16)

Millvale (44=9)(44=15)
ndnd (22=1)

minimally (11:19)
lninutes (24=12)(51=10)
mixing (18=18)
Monday (54=10)(54:11)
lnonths (28=20)

lnoot (36=11)

rnore (51=9)(51=10)
(51=17)
morning
mouth
much (51:10)
multiple (19=21)
n1ust (59=13)

(30=2)
(32=9)

 

 

 

N/A (25=12)

name (4=8)(27:4)(23=3)
(33=24)(43=10)(52=11)
nausea (32=25)
necessarHy (10:5)

need (14:20)(14:25)
(15=10)(24=13)(24=14)
(42=24)(51=9)(56=7)
needed (8:3)(21=25)
needs (16=14)(16:21)
NET/MET (35=14)
neuro (24=6)

never (35=17)(35=23)
(45=5)(47=14)

nevv (23=4)(23=19)
(44=10)(44=12)(44=19)
(50=15)

next (28=11)(32=21)
(32=24)(34=19)(35=12)
(36=1)(45=24)(46=4)
light (49=15)

nine (28=12)

Nodding (31:11)(31:12)
Non-Waiver
nonnal (54=7)(54=8)
nonnaHy (54:23)
notaHzed (59:14)
Notary (1=21)(2=3)
(57=4)(57=25)(58=24)
notadons (35:19)
note (35=25)

noted (59=11)
nothing (57=7)
NoHce (3=4)(59:10)
noHHed (48=11)

(3=4)(59=10)

 

number (18:9)(18:13)
(18=16)(18=17)(28=23)
(42=16)(42:20)(43=1)
(55=10)(55=11)

nurse (5:11)(5:12)
(7:24)(10:19)(15:1)
(19:3)(19=14)(26=25)
(44:20)(47=5)(50=24)
nurseand (14:23)
nurse's (16:25)
nurses' (42=17)(43=6)
nurse-to-nurse (16:15)
nursing (6=9)(6=10)
(6=12)(27=1)(37=6)
(37=11)(47:19)(52=6)

(8:6)(33:6)(39:22)
(52=14)(52=17)
outpaHent (23=16)
over (25=15)(33=15)
(45=21)(46=8)

 

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object (10:2)(12=19)
(13=7)(14=6)(15=20)
(19:18)(22:13)(26:17)
(29=2)(34=23)(45=19)
(47=23)

Observadon (38=13)
(40=8)(41=11)(42=6)
(43=7)(48=11)
observe (21:24)
observed (10=12)
obviously (55=10)
occur (40=13)(40=16)
(41=11)
occurred
occurs (20=22)

odd (12=16)(12=22)

off (54=11)

cWHce (6=9)(27=2)(57=22)
ocher (7=19)(21=23)
(42:15)(42=23)

ochers (8=1)(26=25)
(40=11)(42=7)(42=8)
(42=13)(44=18)

officer's (28:6)
OFFICES (1:17)(2:3)
(2=4)(2:10)

old (27=11)

old interview (4=16)
one (6:2)(6=3)(32=21)
(32=24)(33=2)(36=2)
(36=9)(42=15)(44:3)
(44=4)(51=17)

ongdng (23=18H23=22)
(24=15)

Only (55:3)

opinion (9:11)
Opioid/ETOH (30=17)
order (19=3)(24=2)
(32:2)(32=18)(56:10)
ordered (30=17)(31=1)
(31=2)(56=10)

original (59=15)(59=16)
ORLANDO (1:4)(4:20)
(11=6)(11:15)(12=14)
(15=14)(15:22)(16=1)
(17:10)(19:6)(22:3)
(22=8)(24=17)(24=24)
(25:11)(23=13)(29=6)
(29:15)(29:19)(36:15)
(37=18)(42=19)(43=12)
(44=10)(44:24)(49=23)
(50=23)(55:19)

Orlando/ Lawniczak
Orlando's (24=23)(28;4)
(34=8)(34=20)(41=15)
(41=18)(41=25)

others (15=15)
otherwise (9=22)(11=12)
out (7=14)(7=16)(8=4)

(11=7)(26=9)

 

page (26=7)(26=11)
(27:15)(28=2)(23=11)
(30=12)(36=23)<33=21)
(39=4)(50=14)(51=22)
pages (58=2)

papers (16=17)
papenNork (19=13)
Park (59=2)

part (10=15)(10=23)
(35=17)(39=24)(45=3)
(47=10)

particular (42=15)
pardes (57=16)(57:18)
pan$ (19:21)(19:23)
passed (47=12)

past (17=15)(27=4)
(27:5)(27:9)(28:20)
patch (50=24)(51=4)
padent (5=25)(34=10)
pause (41=6)(51=12)
PENNS¥LVANIA (1:1)
(2=3)(2:5)(57=1)(57=5)
(53=1)
peome
percent
perform
pedonned (10=19)
pedbrndng (9=23)
(12=23)(19=14)

(9:25)(19:8)
(54:19)
(10=17)

peHod (22=4)(25=5)
penods (18=18)
person (7=6)(7=13)

(7=16)(7=20)(7=23)
(7=25)(9=4)(10=8)
(26=23)(30:11)(30=20)
(42=16)(42:23)(42=25)
(43=4)(47=5)(47=8)
(48=6)(48=9)(48=12)
(48=14)(48=17)(55=1)

Personal (1:3)
person's (9:19)(33=24)
pertinent (16:20)
phydcal (5=23)

picture (11:17)

Pkt (2=16)(2=17)(59¢6)
(59=7)

Pittsburgh (1=19)(2=4)

(2:12)(2:17)(59:7)
place (6:19)(17:4)
(17=7)(30=7)(44=18)
(57=9)

placed (10=11)(18=11)
(19:11)(22:3)(22:12)
(34=16)(43=13)(44=21)
(45:12)(48:9)(48:10)
placing (17=11)
iHainth (1=5)(1=20)
(2:1)(2:8)

please (4=8)(5=10)
(25=15)(51=18)(59:11)
(59=15)(59:17)

pod (29:13)(39:20)
pods (36=9)

point (6=11)(36=11)
police (39:22)(44:9)
(44=15)(54=24)(55=2)
policy (8:11)(8:13)
(8:15)(8=17)(10=1)
(10=5)(10=6)(36=6)

 

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Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 21 of 23

 

 

(47=21)(48=4)(48=13)
population (37=10)
(37=13)(37=15)(51=25)
(52=4)(52:5)(52=21)
port (44:12)
poddons (4=25)
posses§on (59=16)
possessions (9:5)
possible (54=17)
possibly (9:15)
potendal (42¢14)
potenHaHy (42:21)
practitioners (24=2)
Practitioner's (32:2)
precauHons (17=5)
(17=3)(18=11)(34=11)
(34=13)(43=11)(43=13)
(48=7)(48=8)(48=18)
preceding (59=12)
preparadon (11=11)
prepare (4=13)
pre-populated (23=6)
prescription (32=17)
present (19=10)
pressure (23=25)(24=4)
(24:11)

presume (54=22)
prevenUon (8:12)(8:18)
(8=20)(10=11)(48:10)
previously (31:9)
Pane (18=2)
pHnted (39=23)
pdndng (57=11)
pHor (9=4)(15:17)
(26=16)(35=4)(40=23)
(40:25)(41:11)(41=13)
(41=15)(41=17)(41=22)
(41;25)(42:5)(44=23)

(56=10)

pHvate (30=14)(30:21)
probably (39:16)(39:23)
problenn (14=15)(42=14)
problems (28=15)
Procedure (2:2)(6:23)
proceedings (41=7)
(51=13)(56=14)

process (7=1)(10=15)

(10=23)(13=19)(13:20)
(43=8)(46=3)

processes (13=14)
(13=21)

professional (35:23)
progress (35=25)
Promethazine (32:14)
(32=25)

pronounce (4:8)
proper (51=3)
provided (22=9)(22=20)
(22=21)

provider (36=20)
Psych (8=7)(8=9)
psychiatHc (8:10)
psychotropic (23=18)
(28=19)(35=9)

PubHc (1:21H2:3)

(30=22)(57:4)(57=25)
(58:24)

puH (27:4)(27=9)
put (17:16)(17:25)
(18:3)(18=4)(47:22)
(54:22)

putting (25=12)

 

Q

QCR (1=22)(58=24)
QuALITY (59=1)

 

quesdon (10=3)(15=3)
(15:6)(15=21)(19=19)
(20=17)(21:11)(23=1)
(24:16)(24=23)(25=10)
(26=12)(27=18)(28=8)
(34=10)(41=10)(43=1)
quesdoned (7:24)
quesdonnane (13=15)
(42:7)

quesdons (13=22)
(14:13)(14:19)(14:20)
(17=21)(18=7)(18:9)
(18=13)(18=21)(22=17)
(22=18)(22=19)(28=12)
(28:13)(28=24)(29=5)
(31=5)(31=8)(40=10)
(40=23)(42=11)(49=6)
(51=17)(53:15)(55=10)
(55:16)(56:3)

 

R

 

ran (50=15)

read (25=15)(29:5)
(32=7)(32=8)(49=1)
(56=6)(58:2)(59=11)
reading (57:15)
ready (6:12)(25=16)
(25=23)

reaHy (8:2)(14:1)
(35=21)(50=4)(50=8)
reapply (24:13)
reason (14=1)(14=2)
(15:3)(15=6)(34=18)
reasons (17:15)
reca" (8:23)(3=25)(9=1)
(9=8)(9=14)(9:18)(10=6)
(11=8)(11=13)(11=14)
(11=13)(11:23)(17=13)
(22=17)(29:14)(29=16)
(41=17)(41=19)(42=2)
(42:3)(42:4)(42=18)
recaHed (11=10)
receipt (59=18)
receive (8:10)(8=17)
(10=14)(26=15)(26:22)

received (26=12)(26=14)
(52=10)(52=12)(54:21)
recent (23=19)

recently (42:21)

record (51=15)(53=7)
(57:12)

recorded (57=10)
records (12=25)(26=12)

(26=14)(26=15)(26=20)
(26:22)(27:4)(27:6)
(27=10)(27=13)(54=21)
(54=23)(54=25)(55=6)
(55=8)

reduced (57=11)

refer (29:6)(31=4)
Reference (1=22)(58=24)
referral (10=8)(29=22)
(30=7)(30=14)(30=15)
(30=25)(33=20)(34=7)
(34=18)(36=1)(36=10)
(36=15)(36=23)(51=18)
(51=22)(52=12)(52=17)

(52=21)
referrals (30=10)
referred (7=16)(16:14)

(18=14)(19=4)(28=25)
(29=8)(29=10)(30=5)
(40=10)(40=17)(49=24)
(50=10)
referring
refused

(13=24)
(27=19)

regarding (20=23)
relative (57=18) (57:19)
relayed (16=12)
rdevant (16:20)
rennain (43:6)

remains (28:10)
remember (11 : 17)

(20=5)(20=6)(28=5)
(29=17)(29:18)(29=21)
rendnded (11:12)
remove (51=3)
removed (22=4)(22=8)
(50=25)

rephrase (17=6)
report (13=3)(13=4)
(13=5)(13=12)(14=4)
(16=13)(16=15)(16=22)
(16=24)(17=2)(21=21)
(26=1)(35=24)(33=13)
(40=5)(40=3)(40=9)
(40=17)(40=19)(40=25)
(41=11)(41=15)(42=6)
(43=24)(44=2)(45=8)
(45=22)(46=23)(47:19)
REPORTED uezl)(35=6)
Reporter (2:3)(3:3)
(56:7)(56:12)(57:3)
(59=19)

REPORTING (59=n
repons (19=9)(20=23)
(45=6)(45=25)(52=25)
RepresentaHve (1=4)
represents (53=25)
requested (44=17)
re§gnadon (38=2)
redgned (37:25)
resistant (48:15)
respecdve (57:16)
respects (53=19)
responded (24=17)
(24=24)(25=12)
responding (5:17)
response (5=19)(24=16)
(43=2)

responses (17:20)
(31=5)(31=8)
responsibilities (5 = 11 )
(5=12)(23=2)(23=3)
restate (48:1)
restraint (19=11)(22:3)
(22=6)(34=15)(45=13)
(48=13)

restraints (44:19)(47:6)
restHche (47=7)
resuh (8:4)

retHeved (44=18)
return (59=17)
review (4=15)(4=16)
(31=23)(33=10)(43=21)
(46=19)

reviewed (19:10)
(25=19)(31=19)(33:11)
(38=6)(43=17)(46:15)
(48=22)

reviewing (41=17)
thbhand (26=7)
rough (54=17)
roane (36=3)

Rules (2=2)

Ruth (37=8)(37=17)
(37=20)(52=8)(52=11)
(52=25)

 

 

S

 

safe (7=17)
safely (7=11)

 

safety (48=16)

saHy (44=12)

same (27=15)(33=5)
(56=9)(59=16)
SANSONE (h17H2=m
(2=10)

savv (15=23)(16=8)
(45=23)(46=7)(55=19)
say (8=14)(9=21)(13=13)
(14=11)(14=14)(14=17)
(17=24)(18¢21)(19=22)
(22=15)(35=1)(35=2)
(36=8)(36=19)(41:19)
(42=14)(42=15)(44=13)
(45=16)(46=8)(49=18)
(54=19)

saying (15=22)(17=25)
(20:5)(40:1)(45:8)
says (7:19)(26=8)
(27=15)(28=2)(32=7)
(32=9)(37=1)(37=2)
(37=3)(43=4)(44=7)
(47=10)(52=10)(53=21)
schizophrenia (35=7)
screaming (47:10)
screen (35=13)(35=14)
screening (27=16)
seal (57:22)

secdon (30=13)(35=12)
(35=19)(36=1)(44:7)
security (48:16)

see (12=10)(12=11)
(13=22)(16=6)(18=17)
(24=9)(24=12)(29=13)
(29=23)(30:3)(33=24)
(35=13)(35:14)(36=20)
(37=3)(37=6)(37=11)
(45=5)(49=15)(51=1)
(52=5)(52=6)(53=10)
seeh1g (11:16)(29=21)
seemed (7=24)

seen (18:20)(18=22)
(18=23)(18=25)(19=3)
(30=4)(30=11)(36=7)
(36=8)(36=11)(36=13)
(36=16)(44=2)(47=14)
(52=20)(55=12)(55:13)
sees (10=21)
segregated (47=6)
segregadon (47=3)
sehure (24:6)

Send (59=16)

sent (8=4)(8=6)
Sergeant (44:17)
seHous (16:20)
Services (32:1)(46=23)
(49=21)(49=22)(50=5)
(50:10)(55=24)

set (57:21)

setting (30=21)
seven (32=12)
Seventeen (4=24)
several (19:8)(20:23)
shared (16:23)

Sheet (3=4)(59=12)
(59=13)(59=15)(59=17)
sheets (26:21)

sth (30=1)(30=2)
(45=24)(46=4)(46=5)
(49=15)(54=7)(54=3)
Shift-to-shift (17=2)
(21=21)(45=22)(47=19)
shoulder (50=25)
shoudng (47=11)
shovvn (55=11)

dde (26=8)(26=11)

 

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Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 22 of 23

 

 

(27=15)

sign (9:8)

Signature (3:4)(33=24)
(37=7)(59=10)(59:13)
Mgned (52=8)(59:15)
anwwant (28=20)
signing (57:15)

§gns (8=21)(8=23)(12:7)
sk (42=17)

situation (15:14)

dx (28=20)

small (14:21)
somebody (34=3)(55:5)
sonneone (7=14)(16=13)
(21=21)(24=5)(24=7)
(24=10)(54=25)
Someon€s (23#4)
something (7=15)(7:21)
(8=1)(8=3)(16=13)
(16=17)(20=12)(21=16)
(50=6)(54=3)(55=23)
sometime (36:16)
somewhere (8:9)
(39=17)(49=16)

sorry (11=25)(17=23)
(23=12)(31=11)(34=24)
(41;24)
space (14=21)
speaking (12:12)
spedaHst (10=20)
(10=21)(29=12)(29=23)
(30=4)(30=6)(30=9)
(37=21)(52=16)

spedaHsts (29:20)
(29=25)

spedaHst (30=8)
spedHc UJ=13)(44=3)

spedHcaHy (40=7)(45=8)
(55=25)

specumte (50=2)

staff (23=20)(52=11)

Stanwix
(2=11)
started (44:13)

stated (44=16)(57=9)
statement (9:9)(9:24)
(10:10)

staten1ents (9=5)(19=7)
STATES (1=1)(10=7)
(48=6)(50=23)

stadng (10=10)

stadon (42=17)(43:6)
status (5=23)

stay (6=11)(22=6)
stenographica|ly ( 57 = 10 )
stHl (37=22)

stopped (24=13)

story (39:11)

Street (1=18)(2=4)(2=11)
Subscdbed (58:22)
Sudden (9=3)

suicidal (8=5)(17=14)
(34=19)(34=20)(43=5)
(48=6)

suicidaiity (8=24)(9=16)
suicide (8:12)(8:18)
(8=20)(10=1)(10=11)
(17=5)(17:8)(18=11)
(22=9)(34=11)(34:12)
(39=19)(39=24)(43=1)
(43=9)(43=11)(43=13)
(47=21)(48:3)(48=4)
(43=9)(48=18)

(1:18)(2:4)

Suke (1=13)(2=4)(2=12)
superwsors (19=10)
supposed (49:16)(49=19)

 

sure (6:5)(14=7)(15=12)
(13=16)(20=2)(27=5)
(35=21)(38=22)(39:2)
(41=25)(42=12)(49=9)
(49:14)(50:6)(52=16)
surrounding (19=17)
(38:1)
Survey
suspect (39=21)
suspicion (39:25)
svvorn (4:2)(57=6)
(58:22)
symptom
system
systems

(26=1)

(32=22)
(40=12)
(50=19)

 

1.

 

talk (30=20)

talked (28=23)
taHdng (13=10)(13=13)
(13=18)(13=20)(15=14)
(21=1)(47=20)(48=3)
(52=15)

taught (8=21)

teH (35=21)(50=13)
teHing (12:9)

ten (32=16)

TERESA (1=12H2:1)
(4=1)(4=10)(57=6)(58:2)
(58=21)(59=9)
terndnated (49=13)
terms (49:7)
termsor (50=13)
Terzigni (2=9)(3:2)(4=7)
(10=4)(12=2)(12=3)
(12:21)(13:11)(14:9)
(14=16)(15=25)(19=22)
(20=2)(20=7)(20=12)
(20=15)(22=14)(23:11)
(23=16)(25=22)(26=19)
(29=4)(31=22)(33=14)
(35=3)(38=9)(33=20)
(38=24)(39=3)(39=8)
(39=12)(40=3)(40=4)
(40=21)(40=22)(41=3)
(41:9)(43=20)(45=20)
(46:13)(47=25)(48=25)
(50=3)(51=9)(51=15)
(52:3)(52=24)(53=4)
(53=3)(53=11)(53=14)
(55=12)(55=17)(56=4)
(59=15)(59:20)
terzignim (2=10)
tesdned (4=3)(16=24)
(17=17)(31=9)(31=13)
(44=6)

tesdfy (41=24)(57=6)
tesdfying (15=5)
testhnony (19:20)
(57=12)

than (36=16)(53=7)
(55=18)

Thank (56=12)

then1 (3=25)(9=13)
(22=21)(24=1)(26=24)
(40=12)(55=1)
therapy (28=16)
There's (13:25)(16=19)
(20=23)(25=10)(26=11)
(26=12)(27=13)(28:9)
(33:24)(53:21)

these (28:24)(31=5)
(55=15)
theyTe (9=20)(21=3)

(23:25)(27:1)(40:12)
(43:5)(55:6)

 

thewve (42=12)
Thiamine (32=15)(33=3)
thing (56:9)

Hings (9=21)(16=23)
(44=5)(45=18)(53=20)
think (15=10)(15=21)
(18=17)(19=19)(19=24)
(21=11)(39=22)(39=23)
(46=11)(51=10)

durd (37=6)

thhiy (59:18)

though (8=14)
thought (12=1)(35:22)
(52:4)

threat (7=14)(7=25)
threatened (19:25)
three (32=14)

through (46=3)(54=10)
Ughtness (44=20)

tHl (46:7)

tune (5=6)(7=16)(9=19)
(14=17)(17:22)(22=4)
(24:25)(25:3)(25:4)
(25=5)(25:7)(29=24)
(34=8)(34=12)(34=15)
(36:6)(39:15)(44:8)
(45=22)(45=23)(46=7)
(43=17)(53=22)(53=25)
(54=1)(54=7)(56=11)
(57=9)

tunes (28=7)(30=1)
(30:2)(32=10)(32=11)
(32=12)(32=13)(32=15)
(32=16)

due (38=21)(49=10)
today (4=13)

told (18=1)(23=6)

top (26=7)(35=17)
(38=20)(39:4)(47=10)

Tovvards (26=7)(36=22)
(51=21)

training (8:17)
transcht (26=5)(58:19)
(59=11)(59=16)
transfer (26:20)
transporting (26=24)
treatnnent (23=19)
(42=24)

triaging (5=15)
tdgger (12=6)(43=2)
(48=3)

THsh (50:24)
trouang (9=13)
true (18:12)(57=12)
(58=19)

truth (12=10)(35=21)
(57=7)(57=8)

truthful (11:21)
try (41=21)

trying (5=24)(51=23)
Tuesday (1=16)(2=5)
(58=3)

turn (28=11)(30=12)
Tvvo (1=17)(2=4)(2=11)
(5=6)(5=8)(6=1)(6=5)
(13=13)(13=15)(13=21)
(13=13)(24=1)(30=1)
(30=2)(32=11)(36=21)
(46=6)(51=17)

type (27=3)

typwa"y (30:19)

 

U

 

Uh-huh (15=16)(16:11)
(23=8)(23=9)
unavvare (34=15)(34=20)

 

unchecked (34=19)
unconnnon (54=13)
under (10=1)(30=12)
(36=23)(38=21)(43=7)
(44=11)(57=11)
understand (15=5)
understanding (6=1)
unh (30=9)(37=16)
UNITED (1=1)
Lndess (14=22)(14=25)
unlikely (35:2)

untH (7=16)(10=12)
(21=18)(42=17)(43=8)
(45=23)(49=5)

upper (53=21)
upstaus (36:10)
urgent (36=3)(36=7)
used (32:20)(32=22)
(32=25)

usual (29=24)
usuaHy (6:19)(9=19)

(11=2)(11=5)(13=25)
(16=13)(16=15)(26=24)
(29=22)(30=1)(35=16)
(36=14)(36=21)(49=15)

 

V

 

valid
VaHun1
verbal
(35:24)

victimization (28=22)
Wdeotaped (19=12)
violent (28 =21)
vhtuaHy (39=10)
Vkanun (33=3)

(7=25)
(32=9)(32:10)
(16=21)(16:24)

 

 

-vs- (1=6)

 

W

 

vvaived (57=16)
vvant (8=25)(19=22)
(20=1)(30=20)(40=1)
(44=5)(51=21)

vvanted (44=16)(45=5)
vvarning (8=21)(8:23)
(9:8)(12:6)

vvatch (43=9)

vveaHng (50=23)
vveekend (54=12)

We|sh (1=21)(2=2)(57=3)
(59=19)

vvewe (16:2)(20:4)

(20=8)(20=10)(24=6)

(51=16)

wEsTERN (1=1)(8=6)
(8:9)

Vve‘ve (3=18)(24=11)

vvhatever (9:3)(9:12)
(14=22)(21:25)(24:1)
(24:5)(24:7)(56:10)

vvhateveHs (24=3)
vvhats (7=3)
vaEREOF (57=2u
whole (57=7)

whom (22:19)
Vvhose (45=17)(47=19)
vwsh (58:3)

vvkhdravv (9=15)(32=23)
(33:1)(33;4)
vvkhdravval (24:8)
withdrawing (11=22)
(11=23)

thness (2=1)(15:23)

(25=19)(31=19)(33=11)

 

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Case 2:17-cV-00185-LPL Document 50-13 Filed 09/26/18 Page 23 of 23

 

(34=24)(38=6)(43=17)
(46=15)(48=22)(57=5)
(57=13)(57=17)(57=21)
vvords (54=24)

vvork (5=2)(5=5)(6=25)
(37:22)

vvorked (5:4)(49=14)
(54=9)(55=25)

vvorks (55=22)

vvorry (9=12)

vvound (23=17)
Vvdght (49=8)(49=17)
(55=22)

vate (16=7)(30:7)
(35=16)

vates (50:15)
vvdtten (16=16)(19=9)
(22=17)(22=22)(35=17)
(35=20)(35:23)

vvrong (19=23)

vvrote (23=17)(30=13)
(34=11)

 

Y
year (28=17)
years (4=24)(5=7)(5=8)
yeses (28=12)

 

 

 

 

 

 

 

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